               Case
B1 (Official Form        14-34604-VFP Doc 1 Filed 12/05/14 Entered 12/05/14
                  1) (04/13)                                                                                                   09:13:35           Desc Main
                              UNITED STATES BANKRUPTCYDocument
                                                      COURT    Page 1 of 71
                                                                                                                                    VOLUNTARY PETITION
                                        NEW JERSEY
                                      __________
 Name of Debtor (if individual, enter Last, First, Middle):                                   Name of Joint Debtor (Spouse) (Last, First, Middle):
Peguero , Zoila R.
 All Other Names used by the Debtor in the last 8 years                                       All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                  (include married, maiden, and trade names):
Zoila Peguero Olivero; Zoila R. Peguero; Zoila Olivero; & Zoila
R. Olivero
 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN
 (if more than one, state all): 5543                                                          (if more than one, state all):

 Street Address of Debtor (No. and Street, City, and State):                                  Street Address of Joint Debtor (No. and Street, City, and State):
1032-1034 Bond Street, Apartment 2
Elizabeth, New Jersey
                                                         ZIP CODE                   07202                                                        ZIP CODE
 County of Residence or of the Principal Place of Business:                                   County of Residence or of the Principal Place of Business:
UNION
 Mailing Address of Debtor (if different from street address):                                Mailing Address of Joint Debtor (if different from street address):



                                                           ZIP CODE                                                                                ZIP CODE
 Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                   ZIP CODE
                           Type of Debtor                                        Nature of Business                         Chapter of Bankruptcy Code Under Which
                       (Form of Organization)                        (Check one box.)                                          the Petition is Filed (Check one box.)
                          (Check one box.)
                                                                           Health Care Business                       X     Chapter 7                  Chapter 15 Petition for
 X      Individual (includes Joint Debtors)                                Single Asset Real Estate as defined in           Chapter 9                  Recognition of a Foreign
        See Exhibit D on page 2 of this form.                              11 U.S.C. § 101(51B)                             Chapter 11                 Main Proceeding
        Corporation (includes LLC and LLP)                                 Railroad                                         Chapter 12                 Chapter 15 Petition for
        Partnership                                                        Stockbroker                                      Chapter 13                 Recognition of a Foreign
        Other (If debtor is not one of the above entities, check           Commodity Broker                                                            Nonmain Proceeding
        this box and state type of entity below.)                          Clearing Bank
                                                                           Other
                        Chapter 15 Debtors                                       Tax-Exempt Entity                                          Nature of Debts
 Country of debtor’s center of main interests:                                (Check box, if applicable.)                                   (Check one box.)
                                                                                                                      X   Debts are primarily consumer            Debts are
                                                                          Debtor is a tax-exempt organization             debts, defined in 11 U.S.C.             primarily
 Each country in which a foreign proceeding by, regarding, or             under title 26 of the United States             § 101(8) as “incurred by an             business debts.
 against debtor is pending:                                               Code (the Internal Revenue Code).               individual primarily for a
                                                                                                                          personal, family, or
                                                                                                                          household purpose.”
                                   Filing Fee (Check one box.)                                                                Chapter 11 Debtors
                                                                                              Check one box:
 X      Full Filing Fee attached.                                                                 Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                  Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court’s consideration certifying that the debtor is        Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.             Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                  insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must              on 4/01/16 and every three years thereafter).
        attach signed application for the court’s consideration. See Official Form 3B.        -----------------------------------
                                                                                              Check all applicable boxes:
                                                                                                  A plan is being filed with this petition.
                                                                                                  Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                  of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                        THIS SPACE IS FOR
                                                                                                                                                               COURT USE ONLY
           Debtor estimates that funds will be available for distribution to unsecured creditors.
 X         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
           distribution to unsecured creditors.
 Estimated Number of Creditors
 X

 1-49          50-99          100-199           200-999     1,000-         5,001-         10,001-         25,001-           50,001-          Over
                                                            5,000          10,000         25,000          50,000            100,000          100,000

 Estimated Assets
                               X

 $0 to         $50,001 to     $100,001 to       $500,001    $1,000,001     $10,000,001    $50,000,001     $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1       to $10         to $50         to $100         to $500           to $1 billion    $1 billion
                                                million     million        million        million         million
 Estimated Liabilities
                               X

 $0 to         $50,001 to     $100,001 to       $500,001    $1,000,001     $10,000,001    $50,000,001     $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1       to $10         to $50         to $100         to $500           to $1 billion    $1 billion
                                                million     million        million        million         million
               Case
B1 (Official Form       14-34604-VFP Doc 1 Filed 12/05/14 Entered 12/05/14 09:13:35 Desc
                  1) (04/13)                                                                                                                                    Main Page 2
 Voluntary Petition                                          Document                Page
                                                                                       Name of2    of 71Peguero , Zoila R.
                                                                                                Debtor(s):
 (This page must be completed and filed in every case.)
 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                              Case Number:                             Date Filed:
 Where Filed: NONE
 Location                                                                              Case Number:                             Date Filed:
 Where Filed:
 Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                       Case Number:                             Date Filed:
                        NONE
 District:                                                                                      Relationship:                                    Judge:



                                         Exhibit A                                                                                  Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                    whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)
                                                                                                I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                                informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                                of title 11, United States Code, and have explained the relief available under each
                                                                                                such chapter. I further certify that I have delivered to the debtor the notice required
                                                                                                by 11 U.S.C. § 342(b).
        Exhibit A is attached and made a part of this petition.
                                                                                                X         /s/Thomas M. Egan                    December 5, 2014
                                                                                                    Signature of Attorney for Debtor(s)       (Date)
                                                                                                    Bar No.: 8401

                                                                                      Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

        Yes, and Exhibit C is attached and made a part of this petition.

  X     No.


                                                                                      Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

       Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:

        Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.



                                                                      Information Regarding the Debtor - Venue
                                                                                (Check any applicable box.)
               X       Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                       preceding the date of this petition or for a longer part of such 180 days than in any other District.

                       There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                       Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
                       no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
                       District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                   Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                           (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                (Name of landlord that obtained judgment)



                                                                                                (Address of landlord)

                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                          of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
               Case
B1 (Official Form       14-34604-VFP Doc
                  1) (04/13)                                   1    Filed 12/05/14 Entered 12/05/14 09:13:35                                        Desc Main                Page 3
 Voluntary Petition                                                 Document     Page
                                                                                  Name of 3 of 71 Peguero , Zoila R.
                                                                                          Debtor(s):
 (This page must be completed and filed in every case.)
                                                                                     Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                    Signature of a Foreign Representative

 I declare under penalty of perjury that the information provided in this petition is true   I declare under penalty of perjury that the information provided in this petition is true
 and correct.                                                                                and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
 or 13 of title 11, United States Code, understand the relief available under each such      (Check only one box.)
 chapter, and choose to proceed under chapter 7.
                                                                                                  I request relief in accordance with chapter 15 of title 11, United States Code.
 [If no attorney represents me and no bankruptcy petition preparer signs the petition] I          Certified copies of the documents required by 11 U.S.C. § 1515 are attached.
 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
 I request relief in accordance with the chapter of title 11, United States Code,                 chapter of title 11 specified in this petition. A certified copy of the
 specified in this petition.                                                                       order granting recognition of the foreign main proceeding is attached.

 X    /s/Zoila Peguero                                                                       X
      Signature of Debtor                   Zoila R. Peguero                                      (Signature of Foreign Representative)

 X
      Signature of Joint Debtor                                                                   (Printed Name of Foreign Representative)

      Telephone Number (if not represented by attorney)
      December 5, 2014                                                                            Date
      Date
                                  Signature of Attorney*                                                 Signature of Non-Attorney Bankruptcy Petition Preparer

 X    /s/Thomas M. Egan                                                                      I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
      Signature of Attorney for Debtor(s)                                                    defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
      Thomas M. Egan                                                                         provided the debtor with a copy of this document and the notices and information
      Printed Name of Attorney for Debtor(s)                                                 required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
      Thomas M. Egan Esq, PC                                                                 guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum
      Firm Name                                                                              fee for services chargeable by bankruptcy petition preparers, I have given the debtor
                                                                                             notice of the maximum amount before preparing any document for filing for a debtor
      1000 Clifton Ave                                                                       or accepting any fee from the debtor, as required in that section. Official Form 19 is
      Clifton, New Jersey 07013                                                              attached.
      Address
      (973) 458-9800
      Telephone Number                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer
      December 5, 2014
      Date
      Bar No.: 8401                                                                               Social-Security number (If the bankruptcy petition preparer is not an individual,
      Fax: (973) 458-9801                                                                         state the Social-Security number of the officer, principal, responsible person or
                                                                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
      E-mail: teganlaw@aol.com
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
 certification that the attorney has no knowledge after an inquiry that the information
 in the schedules is incorrect.
                                                                                                  Address
                   Signature of Debtor (Corporation/Partnership)

 I declare under penalty of perjury that the information provided in this petition is true   X
 and correct, and that I have been authorized to file this petition on behalf of the              Signature
 debtor.

 The debtor requests the relief in accordance with the chapter of title 11, United States         Date
 Code, specified in this petition.
                                                                                             Signature of bankruptcy petition preparer or officer, principal, responsible person, or
 X                                                                                           partner whose Social-Security number is provided above.
      Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or assisted
      Printed Name of Authorized Individual                                                  in preparing this document unless the bankruptcy petition preparer is not an
                                                                                             individual.
      Title of Authorized Individual
                                                                                             If more than one person prepared this document, attach additional sheets conforming
      Date
                                                                                             to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                             the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                             both. 11 U.S.C. § 110; 18 U.S.C. § 156.
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B6A (Official Form 6A) (12/07)

In re Zoila R. Peguero ,                                                                             Case No.
                                            Debtor                                                                           (If known)


                                 SCHEDULE A - REAL PROPERTY




                                                                                     Husband, Wife, Joint,
                                                                                                               CURRENT VALUE




                                                                                        or Community
                                                                                                                 OF DEBTOR’S
                  DESCRIPTION AND                                                                                INTEREST IN         AMOUNT OF
                                                       NATURE OF DEBTOR’S
                    LOCATION OF                                                                              PROPERTY, WITHOUT        SECURED
                                                      INTEREST IN PROPERTY
                     PROPERTY                                                                                  DEDUCTING ANY           CLAIM
                                                                                                               SECURED CLAIM
                                                                                                                OR EXEMPTION




 1032-1034 Bond Street
 Elizabeth, New Jersey 07201
                                                     CoTenant                                                       $200,000.00           $365,750.00




                                                                                   Total ►                           $200,000.00


                                                     (Report also on Summary of Schedules.)
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B 6B (Official Form 6B) (12/2007)

In re Zoila R. Peguero ,                                                                  Case No.
                                                        Debtor                                                         (If known)


                                      SCHEDULE B - PERSONAL PROPERTY




                                                                                            Joint, Or Community
                                                                                                                    CURRENT VALUE OF




                                                                                               Husband, Wife,
                                                 N                                                                DEBTOR’S INTEREST IN
                                                 O            DESCRIPTION AND LOCATION                             PROPERTY, WITHOUT
          TYPE OF PROPERTY
                                                 N                  OF PROPERTY                                      DEDUCTING ANY
                                                 E                                                                   SECURED CLAIM
                                                                                                                      OR EXEMPTION


 1. Cash on hand.                                X

 2. Checking, savings or other financial
 accounts, certificates of deposit or shares
 in banks, savings and loan, thrift,
                                                 X
 building and loan, and homestead
 associations, or credit unions, brokerage
 houses, or cooperatives.

 3. Security deposits with public utilities,
 telephone companies, landlords, and             X
 others.

 4. Household goods and furnishings,                    Household Goods, Furniture & TV                                             $1,000.00
 including audio, video, and computer
 equipment.


 5. Books; pictures and other art objects;
 antiques; stamp, coin, record, tape,
                                                 X
 compact disc, and other collections or
 collectibles.

 6. Wearing apparel.                                    Clothing                                                                     $200.00



 7. Furs and jewelry.                            X

 8. Firearms and sports, photographic,
                                                 X
 and other hobby equipment.

 9. Interests in insurance policies. Name
 insurance company of each
                                                 X
 policy and itemize surrender or
 refund value of each.

 10. Annuities. Itemize and name each
                                                 X
 issuer.

 11. Interests in an education IRA as
 defined in 26 U.S.C. § 530(b)(1) or under
 a qualified State tuition plan as defined in
                                                 X
 26 U.S.C. § 529(b)(1). Give particulars.
 (File separately the record(s) of any such
 interest(s). 11 U.S.C. § 521(c).)

 12. Interests in IRA, ERISA, Keogh, or
 other pension or profit sharing plans.          X
 Give particulars.
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B 6B (Official Form 6B) (12/2007)

In re Zoila R. Peguero ,                                                                Case No.
                                                     Debtor                                                           (If known)


                                      SCHEDULE B - PERSONAL PROPERTY
                                                                 (Continuation Sheet)




                                                                                           Joint, Or Community
                                                                                                                   CURRENT VALUE OF




                                                                                              Husband, Wife,
                                              N                                                                  DEBTOR’S INTEREST IN
                                              O            DESCRIPTION AND LOCATION                               PROPERTY, WITHOUT
          TYPE OF PROPERTY
                                              N                  OF PROPERTY                                        DEDUCTING ANY
                                              E                                                                     SECURED CLAIM
                                                                                                                     OR EXEMPTION



 13. Stock and interests in incorporated
                                              X
 and unincorporated businesses. Itemize.

 14. Interests in partnerships or joint
                                              X
 ventures. Itemize.

 15. Government and corporate bonds and
 other negotiable and nonnegotiable           X
 instruments.

 16. Accounts receivable.                     X

 17. Alimony, maintenance, support, and              Child Support - $178.00/Week                                                  $178.00
 property settlements to which the debtor
 is or may be entitled. Give particulars.


 18. Other liquidated debts owed to debtor
                                              X
 including tax refunds. Give particulars.

 19. Equitable or future interests, life
 estates, and rights or powers exercisable
 for the benefit of the debtor other than     X
 those listed in Schedule A – Real
 Property.

 20. Contingent and noncontingent
 interests in estate of a decedent, death
                                              X
 benefit plan, life insurance policy, or
 trust.

 21. Other contingent and unliquidated
 claims of every nature, including tax
 refunds, counterclaims of the debtor, and    X
 rights to setoff claims. Give estimated
 value of each.

 22. Patents, copyrights, and other
                                              X
 intellectual property. Give particulars.

 23. Licenses, franchises, and other
                                              X
 general intangibles. Give particulars.

 24. Customer lists or other compilations
 containing personally identifiable
 information (as defined in 11 U.S.C. §
 101(41A)) provided to the debtor by
                                              X
 individuals in connection with obtaining
 a product or service from the debtor
 primarily for personal, family, or
 household purposes.
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B 6B (Official Form 6B) (12/2007)

In re Zoila R. Peguero ,                                                                         Case No.
                                                   Debtor                                                                      (If known)


                                       SCHEDULE B - PERSONAL PROPERTY
                                                                (Continuation Sheet)




                                                                                                    Joint, Or Community
                                                                                                                            CURRENT VALUE OF




                                                                                                       Husband, Wife,
                                            N                                                                             DEBTOR’S INTEREST IN
                                            O             DESCRIPTION AND LOCATION                                         PROPERTY, WITHOUT
         TYPE OF PROPERTY
                                            N                   OF PROPERTY                                                  DEDUCTING ANY
                                            E                                                                                SECURED CLAIM
                                                                                                                              OR EXEMPTION



 25. Automobiles, trucks, trailers, and            2007 Mazda CX-9                                                                          $14,660.00
 other vehicles and accessories.                   50,000 Miles




 26. Boats, motors, and accessories.        X

 27. Aircraft and accessories.              X

 28. Office equipment, furnishings, and
                                            X
 supplies.

 29. Machinery, fixtures, equipment, and
                                            X
 supplies used in business.

 30. Inventory.                             X

 31. Animals.                               X

 32. Crops - growing or harvested. Give
                                            X
 particulars.

 33. Farming equipment and implements.      X

 34. Farm supplies, chemicals, and feed.    X

 35. Other personal property of any kind
                                            X
 not already listed. Itemize.


                                            2 continuation sheets attached         Total ►                                                  $16,038.00
                                                       (Include amounts from any continuation
                                                         sheets attached. Report total also on
                                                               Summary of Schedules.)
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B6C (Official Form 6C) (04/13)

In re Zoila R. Peguero ,                                                                      Case No.
                                       Debtor                                                                        (If known)


                      SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
Debtor claims the exemptions to which debtor is entitled under:            Check if debtor claims a homestead exemption that exceeds
(Check one box)                                                             $155,675.*
 11 U.S.C. § 522(b)(2)
 11 U.S.C. § 522(b)(3)

                                                                                                                        CURRENT
                                                                      SPECIFY LAW                VALUE OF
                                                                                                                   VALUE OF PROPERTY
                 DESCRIPTION OF PROPERTY                            PROVIDING EACH               CLAIMED
                                                                                                                   WITHOUT DEDUCTING
                                                                       EXEMPTION                EXEMPTION
                                                                                                                       EXEMPTION
 2007 Mazda CX-9                                                  11 USC § 522(d)(2)                  $3,675.00                $14,660.00
 50,000 Miles
                                                                  11 USC § 522(d)(5)                 $10,985.00


 Household Goods, Furniture & TV                                  11 USC § 522(d)(3)                  $1,000.00                   $1,000.00


 Clothing                                                         11 USC § 522(d)(5)                     $200.00                   $200.00


 Child Support - $178.00/Week                                     11 USC § 522(d)(5)                     $178.00                   $178.00




* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.
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B 6D (Official Form 6D) (12/07)                                     Document     Page 9 of 71

 In re ____________________________________,
       Zoila R. Peguero                                                                                           Case No. __________________________________
                                                   Debtor                                                                                (If known)

                              SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
          □          Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                  HUSBAND, WIFE,




                                                                                                          UNLIQUIDATED
  CREDITOR’S NAME AND                                               DATE CLAIM WAS                                                  AMOUNT OF CLAIM                 UNSECURED




                                                                                             CONTINGENT
                                                   COMMUNITY
                                       CODEBTOR
     MAILING ADDRESS                                                   INCURRED,                                                        WITHOUT                     PORTION, IF

                                                    JOINT, OR




                                                                                                                         DISPUTED
 INCLUDING ZIP CODE AND                                             NATURE OF LIEN ,                                                DEDUCTING VALUE                    ANY
   AN ACCOUNT NUMBER                                                      AND                                                        OF COLLATERAL
    (See Instructions Above.)                                         DESCRIPTION
                                                                     AND VALUE OF
                                                                       PROPERTY
                                                                    SUBJECT TO LIEN
ACCOUNT NO. 0076                                                   2/1/2003
Ocwen                                                              Mortgage
P.O. Box 6723
Springfield, OH 45501                                              1032-1034 Bond
                                                                   Street                                                                      $365,750.00              $165,750.00
                                                                   Elizabeth, New
                                                                   Jersey 07201
                                                                   VALUE $ $200,000.00




____
  0 continuation sheets                                            Subtotal ►                                                       $            365,750.00 $             165,750.00
     attached                                                      (Total of this page)
                                                                   Total ►                                                          $           365,750.00 $              165,750.00
                                                                   (Use only on last page)
                                                                                                                                    (Report also on Summary of   (If applicable, report
                                                                                                                                    Schedules.)                  also on Statistical
                                                                                                                                                                 Summary of Certain
                                                                                                                                                                 Liabilities and Related
                                                                                                                                                                 Data.)
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B 6E (Official Form 6E) (04/13)

       In re
                 Zoila R. Peguero                                                      ,              Case No.
                                                             Debtor                                                       (if known)


         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
X    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations

    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case

  Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions

  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans

  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

    Certain farmers and fishermen

 Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

    Deposits by individuals

  Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).

    Taxes and Certain Other Debts Owed to Governmental Units

 Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

    Commitments to Maintain the Capital of an Insured Depository Institution

  Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated

  Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug, or another substance. 11 U.S.C. § 507(a)(10).


* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.


                                                            0 continuation sheets attached
                                                           ____
                Case
B 6F (Official Form      14-34604-VFP
                    6F) (12/07)                  Doc 1                           Filed 12/05/14 Entered 12/05/14 09:13:35                                                                                         Desc Main
                                                                                Document      Page 11 of 71
         Zoila R. Peguero
   In re _________________________________________________________,                                                        Case No. _________________________________
                                           Debtor                                                                                                  (if known)
      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
         G Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                              HUSBAND, WIFE,

                                                                               COMMUNITY
           CREDITOR’S NAME,                                                                                   DATE CLAIM WAS                                                                                                   AMOUNT OF




                                                                                                                                                                         UNLIQUIDATED
                                                                                JOINT, OR




                                                                                                                                                CONTINGENT
                                                       CODEBTOR
            MAILING ADDRESS                                                                                    INCURRED AND                                                                                                      CLAIM




                                                                                                                                                                                                    DISPUTED
          INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
         AND ACCOUNT NUMBER                                                                                       CLAIM.
               See instructions above.                                                                     IF CLAIM IS SUBJECT TO
                                                                                                              SETOFF, SO STATE.
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      ACCOUNT NO. 3779                                                                               4/1/2010
      ————————————————
                                                                                                     Medical Services
      ACB Receivables
      Management                                                                                                                                                                                                                   $605.00
      19 Main Street
      Asbury Park, NJ 07712
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      ACCOUNT NO. 1110                                                                               12/1/2012
      ————————————————
                                                                                                     Medical Services
      American Financial Solutions                                                                                                                                                                                                 $783.00
      P.O. Box 602570
      Charlotte, NC 28260

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      ACCOUNT NO. 7223                                                                               12/01/2012
      ————————————————
                                                                                                     Consumer Goods
      Citibank, N.A.
      c/o Northland Group Inc.                                                                                                                                                                                                   $16,583.58
      P.O. Box 390905
      Minneapolis, MN 55439
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      ACCOUNT NO. 7029                                                                               9/1/2009
      ————————————————
                                                                                                     Consumer Goods
      Discover Financial Services,
      LLC                                                                                                                                                                                                                         $7,166.00
      P.O. Box 15316
      Wilmington, DE 19850
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                                                                                                                                                                             Subtotal'                                     $      25,137.58
         4
       _____continuation sheets attached                                                                                                             Total'                                                                $
                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                   (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                         Summary of Certain Liabilities and Related Data.)
                Case
B 6F (Official Form      14-34604-VFP
                    6F) (12/07) - Cont.            Doc 1                          Filed 12/05/14 Entered 12/05/14 09:13:35                                                                                         Desc Main
                                                                                 Document      Page 12 of 71
      Zoila R. Peguero
In re __________________________________________,                                                                           Case No. _________________________________
                      Debtor                                                                                                                  (if known)


       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                    (Continuation Sheet)




                                                                               HUSBAND, WIFE,




                                                                                                                                                                          UNLIQUIDATED
                                                                                COMMUNITY
                                                                                                               DATE CLAIM WAS




                                                                                                                                                 CONTINGENT
           CREDITOR’S NAME,



                                                        CODEBTOR


                                                                                 JOINT, OR




                                                                                                                                                                                                     DISPUTED
                                                                                                                INCURRED AND
            MAILING ADDRESS
                                                                                                             CONSIDERATION FOR                                                                                                  AMOUNT OF
          INCLUDING ZIP CODE,
                                                                                                                   CLAIM.                                                                                                         CLAIM
         AND ACCOUNT NUMBER
              (See   instructions above.)                                                                   IF CLAIM IS SUBJECT TO
                                                                                                               SETOFF, SO STATE.
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      ACCOUNT NO. 6377                                                                              12/1/2012
      ————————————————
                                                                                                    Wireless Telephone
      Enhanced Recovery Co., LLC                                                                    Services                                                                                                                        $701.00
      8014 Bayberry Road
      Jacksonville, FL 32256

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      ACCOUNT NO.                                                                                   5/17/2010
      ————————————————
                                                                                                    Consumer Goods
      First American Acceptance
      c/o Hayt, Hayt & Landau                                                                                                                                                                                                      $6,178.18
      P.O. Box 500
      Eatontown, NJ 07724-0500
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      ACCOUNT NO. 8183                                                                              9/1/2009
      ————————————————
                                                                                                    Consumer Goods
      Home Depot/Citibank                                                                                                                                                                                                           $514.00
      P.O. Box 6497
      Sioux Falls, SD 57117

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      ACCOUNT NO. 1742                                                                              8/1/2009
      ————————————————
                                                                                                    Consumer Goods
      HSBC Bank                                                                                                                                                                                                                    $2,705.00
      P.O. Box 5253
      Carol Stream, IL 60197

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       Sheet no. 1 of 4 continuation sheets attached                                                                                                                            Subtotal'                                   $      10,098.18
       to Schedule of Creditors Holding Unsecured
       Nonpriority Claims

                                                                                                                                                     Total'                                                                 $
                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                    (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                          Summary of Certain Liabilities and Related Data.)
                Case
B 6F (Official Form      14-34604-VFP
                    6F) (12/07) - Cont.            Doc 1                          Filed 12/05/14 Entered 12/05/14 09:13:35                                                                                         Desc Main
                                                                                 Document      Page 13 of 71
      Zoila R. Peguero
In re __________________________________________,                                                                           Case No. _________________________________
                      Debtor                                                                                                                  (if known)


       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                    (Continuation Sheet)




                                                                               HUSBAND, WIFE,




                                                                                                                                                                          UNLIQUIDATED
                                                                                COMMUNITY
                                                                                                               DATE CLAIM WAS




                                                                                                                                                 CONTINGENT
           CREDITOR’S NAME,



                                                        CODEBTOR


                                                                                 JOINT, OR




                                                                                                                                                                                                     DISPUTED
                                                                                                                INCURRED AND
            MAILING ADDRESS
                                                                                                             CONSIDERATION FOR                                                                                                  AMOUNT OF
          INCLUDING ZIP CODE,
                                                                                                                   CLAIM.                                                                                                         CLAIM
         AND ACCOUNT NUMBER
              (See   instructions above.)                                                                   IF CLAIM IS SUBJECT TO
                                                                                                               SETOFF, SO STATE.
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      ACCOUNT NO. 3191                                                                              12/1/2009
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                                                                                                    Consumer Goods
      HSBC Bank Nevada                                                                                                                                                                                                             $8,222.00
      P.O. Box 5253
      Carol Stream, IL 60197

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      ACCOUNT NO. 6231                                                                              01/01/2013
      ————————————————
      HSBC Bank Nevada, N.A. Consumer Goods
      c/o Midland Credit
      Management, Inc.                               $3,321.91
      8875 Aero Drive
      Suite 200
      San Diego, CA 92123
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      ACCOUNT NO. 9701                                                                              9/1/2009
      ————————————————
                                                                                                    Consumer Goods
      Macy's                                                                                                                                                                                                                       $2,241.00
      P.O. Box 8218
      Mason, OH 45040

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      ACCOUNT NO. 4547                                                                              2/1/2012
      ————————————————
                                                                                                    Consumer Goods
      Midland Funding                                                                                                                                                                                                              $3,309.00
      8875 Aero Drive, Suite 200
      San Diego, CA 92123

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       Sheet no. 2 of 4 continuation sheets attached                                                                                                                            Subtotal'                                   $      17,093.91
       to Schedule of Creditors Holding Unsecured
       Nonpriority Claims

                                                                                                                                                     Total'                                                                 $
                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                    (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                          Summary of Certain Liabilities and Related Data.)
                Case
B 6F (Official Form      14-34604-VFP
                    6F) (12/07) - Cont.            Doc 1                          Filed 12/05/14 Entered 12/05/14 09:13:35                                                                                         Desc Main
                                                                                 Document      Page 14 of 71
      Zoila R. Peguero
In re __________________________________________,                                                                           Case No. _________________________________
                      Debtor                                                                                                                  (if known)


       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                    (Continuation Sheet)




                                                                               HUSBAND, WIFE,




                                                                                                                                                                          UNLIQUIDATED
                                                                                COMMUNITY
                                                                                                               DATE CLAIM WAS




                                                                                                                                                 CONTINGENT
           CREDITOR’S NAME,



                                                        CODEBTOR


                                                                                 JOINT, OR




                                                                                                                                                                                                     DISPUTED
                                                                                                                INCURRED AND
            MAILING ADDRESS
                                                                                                             CONSIDERATION FOR                                                                                                  AMOUNT OF
          INCLUDING ZIP CODE,
                                                                                                                   CLAIM.                                                                                                         CLAIM
         AND ACCOUNT NUMBER
              (See   instructions above.)                                                                   IF CLAIM IS SUBJECT TO
                                                                                                               SETOFF, SO STATE.
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      ACCOUNT NO. 6439                                                                              2/1/2010
      ————————————————
      Portfolio Recovery       Consumer Goods
      Associates                                      $309.00
      120 Corporate Boulevard,
      Suite 100
      Norfolk, VA 23502
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      ACCOUNT NO. 97N1                                                                              1/1/2013
      ————————————————
                                                                                                    Medical Services
      Senex Services
      3500 DePauw Boulevard,                                                                                                                                                                                                        $221.00
      Suite 3050
      Indianapolis, IN 46268
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      ACCOUNT NO. 9253                                                                              08/26/2014
      ————————————————
                                                                                                    Medical Services
      Trinitas Emergency Phoenix
      Physicians                                                                                                                                                                                                                    $915.00
      6880 W. Snowville Road # 210
      Brecksville, OH 44141-3255
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      ACCOUNT NO. 6755                                                                              07/01/2014
      ————————————————
      University Radiology Group, Medical Services
      PC                                              $305.00
      P.O. Box 1075
      East Brunswick, NJ
      08816-1075
      ———————————————————————————————————————————————————


       Sheet no. 3 of 4 continuation sheets attached                                                                                                                            Subtotal'                                   $       1,750.00
       to Schedule of Creditors Holding Unsecured
       Nonpriority Claims

                                                                                                                                                     Total'                                                                 $
                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                    (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                          Summary of Certain Liabilities and Related Data.)
                Case
B 6F (Official Form      14-34604-VFP
                    6F) (12/07) - Cont.            Doc 1                          Filed 12/05/14 Entered 12/05/14 09:13:35                                                                                         Desc Main
                                                                                 Document      Page 15 of 71
      Zoila R. Peguero
In re __________________________________________,                                                                           Case No. _________________________________
                      Debtor                                                                                                                  (if known)


       SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                    (Continuation Sheet)




                                                                               HUSBAND, WIFE,




                                                                                                                                                                          UNLIQUIDATED
                                                                                COMMUNITY
                                                                                                               DATE CLAIM WAS




                                                                                                                                                 CONTINGENT
           CREDITOR’S NAME,



                                                        CODEBTOR


                                                                                 JOINT, OR




                                                                                                                                                                                                     DISPUTED
                                                                                                                INCURRED AND
            MAILING ADDRESS
                                                                                                             CONSIDERATION FOR                                                                                                  AMOUNT OF
          INCLUDING ZIP CODE,
                                                                                                                   CLAIM.                                                                                                         CLAIM
         AND ACCOUNT NUMBER
              (See   instructions above.)                                                                   IF CLAIM IS SUBJECT TO
                                                                                                               SETOFF, SO STATE.
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      ACCOUNT NO. 6439                                                                              11/1/2009
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                                                                                                    Consumer Goods
      WFNNB/Dress Barn                                                                                                                                                                                                              $308.00
      P.O. Box 182789
      Columbus, OH 43218

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       Sheet no. 4 of 4 continuation sheets attached                                                                                                                            Subtotal'                                   $        308.00
       to Schedule of Creditors Holding Unsecured
       Nonpriority Claims

                                                                                                                                                     Total'                                                                 $      54,387.67
                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                    (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                          Summary of Certain Liabilities and Related Data.)
Case 14-34604-VFP               Doc 1     Filed 12/05/14 Entered 12/05/14 09:13:35                     Desc Main
                                         Document      Page 16 of 71
  B 6G (Official Form 6G) (12/07)

  In re Zoila R. Peguero ,                                                     Case No.
                                               Debtor                                     (if known)

   SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
   Check this box if debtor has no executory contracts or unexpired leases.


                                                                DESCRIPTION OF CONTRACT OR LEASE AND
         NAME AND MAILING ADDRESS,                               NATURE OF DEBTOR’S INTEREST. STATE
             INCLUDING ZIP CODE,                                WHETHER LEASE IS FOR NONRESIDENTIAL
   OF OTHER PARTIES TO LEASE OR CONTRACT.                          REAL PROPERTY. STATE CONTRACT
                                                                NUMBER OF ANY GOVERNMENT CONTRACT.
      Case 14-34604-VFP                Doc 1     Filed 12/05/14 Entered 12/05/14 09:13:35    Desc Main
                                                Document      Page 17 of 71
B 6H (Official Form 6H) (12/07)

In re Zoila R. Peguero ,                                             Case No.
                                                   Debtor                            (if known)


                                               SCHEDULE H - CODEBTORS
 Check this box if debtor has no codebtors.


            NAME AND ADDRESS OF CODEBTOR                             NAME AND ADDRESS OF CREDITOR
               Case 14-34604-VFP                Doc 1      Filed 12/05/14 Entered 12/05/14 09:13:35                            Desc Main
                                                          Document      Page 18 of 71
 Fill in this information to identify your case:


 Debtor 1            Zoila R. Peguero
                    ___________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            __________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                      New Jersey       _
 United States Bankruptcy Court for : ______________________

 Case number         ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
Official Form B 6I
                                                                                                       ________________
                                                                                                       MM / DD / YYYY


Schedule I: Your Income                                                                                                                           12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                         Debtor 1                                  Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status            
                                                                      X
                                                                        Employed                                       Employed
    employers.                                                         Not employed                                   Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                 Unemployed
                                                                    __________________________________           __________________________________
    Occupation may Include student
    or homemaker, if it applies.
                                         Employer’s name            __________________________________           __________________________________


                                         Employer’s address        _______________________________________     ________________________________________
                                                                    Number Street                               Number    Street

                                                                   _______________________________________     ________________________________________

                                                                   _______________________________________     ________________________________________

                                                                    ***Debtor employer state RMC***
                                                                   _______________________________________     ________________________________________
                                                                     City           State  ZIP Code              City                State ZIP Code

                                         How long employed there?         _______                                 _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                              For Debtor 1        For Debtor 2 or
                                                                                                                  non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.       2.     0.00                   0.00
                                                                                             $___________           $____________

 3. Estimate and list monthly overtime pay.                                            3.      0.00
                                                                                            + $___________          0.00
                                                                                                                 + $____________

 4. Calculate gross income. Add line 2 + line 3.                                       4.     0.00
                                                                                             $__________             0.00
                                                                                                                    $____________



Official Form B 6I                                             Schedule I: Your Income                                                        page 1
            Case 14-34604-VFP                              Doc 1           Filed 12/05/14 Entered 12/05/14 09:13:35                                        Desc Main
                                                                          Document      Page 19 of 71
Debtor 1         Zoila R. Peguero
                 _______________________________________________________                                                  Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name



                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.      0.00
                                                                                                                          $___________           0.00
                                                                                                                                                $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.     $____________           0.00
                                                                                                                                                $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.     $____________           0.00
                                                                                                                                                $_____________
     5d. Required repayments of retirement fund loans                                                            5d.     $____________           0.00
                                                                                                                                                $_____________
     5e. Insurance                                                                                               5e.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     5f. Domestic support obligations                                                                            5f.     $____________           0.00
                                                                                                                                                $_____________

     5g. Union dues                                                                                              5g.
                                                                                                                          0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

     5h. Other deductions. Specify: __________________________________                                           5h.       0.00
                                                                                                                        + $____________          0.00
                                                                                                                                              + $_____________
 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                    6.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                              0.00                   0.00
                                                                                                                         $____________          $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                          770.00                 0.00
                                                                                                                         $____________          $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     8e. Social Security                                                                                         8e.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental                                          $____________           0.00
                                                                                                                                                $_____________
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.

     8g. Pension or retirement income                                                                            8g.      0.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________          0.00
                                                                                                                                              + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.      770.00
                                                                                                                         $____________           0.00
                                                                                                                                                $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                          770.00
                                                                                                                         $___________     +      0.00
                                                                                                                                                $_____________    770.00
                                                                                                                                                               = $_____________
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                          0.00
                                                                                                                                                               11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                               12.
                                                                                                                                                                       770.00
                                                                                                                                                                      $_____________
                                                                                                                                                                      Combined
                                                                                                                                                                      monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:


Official Form B 6I                                                                 Schedule I: Your Income                                                                page 2
               Case 14-34604-VFP                  Doc 1      Filed 12/05/14 Entered 12/05/14 09:13:35                                  Desc Main
                                                            Document      Page 20 of 71
  Fill in this information to identify your case:

  Debtor 1          Zoila R. Peguero
                    __________________________________________________________________
                      First Name              Middle Name             Last Name                       Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                       An amended filing
                                       New Jersey
                                                                                                       A supplement showing post-petition chapter 13
                                                        _
  United States Bankruptcy Court for : ______________________                                             expenses as of the following date:
                                                                                                          ________________
  Case number         ___________________________________________                                         MM / DD / YYYY
  (If known)
                                                                                                       A separate filing for Debtor 2 because Debtor 2
                                                                                                          maintains a separate household
Official Form B 6J
Schedule J: Your Expenses                                                                                                                            12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   
   X
        No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?

               
               X
                     No
                    Yes. Debtor 2 must file a separate Schedule J.

2. Do you have dependents?                     No                                 Dependent’s relationship to              Dependent’s    Does dependent live
   Do not list Debtor 1 and                 
                                            X
                                                Yes. Fill out this information for Debtor 1 or Debtor 2                     age            with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’                                                    Son                                      24                No
                                                                                   _________________________                ________
   names.                                                                                                                                  
                                                                                                                                           X
                                                                                                                                               Yes

                                                                                   Son
                                                                                   _________________________                18
                                                                                                                            ________          No
                                                                                                                                           
                                                                                                                                           X
                                                                                                                                               Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

3. Do your expenses include
   expenses of people other than
                                            
                                            X
                                                No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value
of such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                       Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                               3,500.00
                                                                                                                              $_____________________
     any rent for the ground or lot.                                                                                  4.

     If not included in line 4:
     4a.    Real estate taxes                                                                                         4a.      0.00
                                                                                                                              $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                              4b.      0.00
                                                                                                                              $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                             4c.      100.00
                                                                                                                              $_____________________
     4d.    Homeowner’s association or condominium dues                                                               4d.      0.00
                                                                                                                              $_____________________

Official Form B 6J                                            Schedule J: Your Expenses                                                          page 1
             Case 14-34604-VFP                  Doc 1           Filed 12/05/14 Entered 12/05/14 09:13:35                    Desc Main
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 Debtor 1        Zoila R. Peguero
                 _______________________________________________________                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                      0.00
                                                                                                                     $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.     375.00
                                                                                                                     $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.     100.00
                                                                                                                     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.     125.00
                                                                                                                     $_____________________
      6d.   Other. Specify: _______________________________________________                                   6d.     0.00
                                                                                                                     $_____________________

 7. Food and housekeeping supplies                                                                            7.      500.00
                                                                                                                     $_____________________

 8. Childcare and children’s education costs                                                                  8.      0.00
                                                                                                                     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.      100.00
                                                                                                                     $_____________________
10.   Personal care products and services                                                                     10.     25.00
                                                                                                                     $_____________________
11.   Medical and dental expenses                                                                             11.     70.00
                                                                                                                     $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                      140.00
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.     0.00
                                                                                                                     $_____________________
14.   Charitable contributions and religious donations                                                        14.     0.00
                                                                                                                     $_____________________

15.   Insurance.                                                                                                                                    1

      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.    0.00
                                                                                                                     $_____________________
      15b. Health insurance                                                                                   15b.    0.00
                                                                                                                     $_____________________
      15c. Vehicle insurance                                                                                  15c.    225.00
                                                                                                                     $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.    0.00
                                                                                                                     $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                      0.00
                                                                                                                     $_____________________
      Specify: ________________________________________________________                                       16.

17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                         17a.    0.00
                                                                                                                     $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.    0.00
                                                                                                                     $_____________________
                          Home Security System
      17c. Other. Specify:_______________________________________________                                     17c.    30.00
                                                                                                                     $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.   $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted                         0.00
      from your pay on line 5, Schedule I, Your Income (Official Form B 6I).                                   18.   $_____________________


19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                          19.    0.00
                                                                                                                     $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.    0.00
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                  20b.    0.00
                                                                                                                     $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.    0.00
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.    0.00
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.    0.00
                                                                                                                     $_____________________



 Official Form B 6J                                            Schedule J: Your Expenses                                                   page 2
                Case 14-34604-VFP               Doc 1          Filed 12/05/14 Entered 12/05/14 09:13:35                        Desc Main
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 Debtor 1         Zoila R. Peguero
                  _______________________________________________________                     Case number (if known)_____________________________________
                  First Name    Middle Name       Last Name




21.    Other. Specify: _________________________________________________                                         21.     0.00
                                                                                                                       +$_____________________

22.    Your monthly expenses. Add lines 4 through 21.
                                                                                                                         5,290.00
                                                                                                                        $_____________________
       The result is your monthly expenses.                                                                      22.




23. Calculate your monthly net income.
                                                                                                                          2,170.00
                                                                                                                         $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

      23b.   Copy your monthly expenses from line 22 above.                                                     23b.      5,290.00
                                                                                                                       – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                          -3,120.00
                                                                                                                         $_____________________
             The result is your monthly net income.                                                             23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

         No.
      
      X
          Yes.      Explain here:
                  Debtor is hoping to become employed.




 Official Form B 6J                                           Schedule J: Your Expenses                                                       page 3
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B6 Cover (Form 6 Cover) (12/07)




FORM 6. SCHEDULES

Summary of Schedules
Statistical Summary of Certain Liabilities and Related Data (28 U.S.C. § 159)

Schedule A - Real Property
Schedule B - Personal Property
Schedule C - Property Claimed as Exempt
Schedule D - Creditors Holding Secured Claims
Schedule E - Creditors Holding Unsecured Priority Claims
Schedule F - Creditors Holding Unsecured Nonpriority Claims
Schedule G - Executory Contracts and Unexpired Leases
Schedule H - Codebtors
Schedule I - Current Income of Individual Debtor(s)
Schedule J - Current Expenditures of Individual Debtors(s)

Unsworn Declaration Under Penalty of Perjury


GENERAL INSTRUCTIONS: The first page of the debtor’s schedules and the first page of any
amendments thereto must contain a caption as in Form 16B. Subsequent pages should be
identified with the debtor’s name and case number. If the schedules are filed with the petition,
the case number should be left blank.

Schedules D, E, and F have been designed for the listing of each claim only once. Even when a
claim is secured only in part or entitled to priority only in part, it still should be listed only once.
A claim which is secured in whole or in part should be listed on Schedule D only, and a claim
which is entitled to priority in whole or in part should be listed on Schedule E only. Do not list
the same claim twice. If a creditor has more than one claim, such as claims arising from separate
transactions, each claim should be scheduled separately.

Review the specific instructions for each schedule before completing the schedule.
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B 6 Summary (Official Form 6 - Summary) (12/14)



                                    UNITED STATES BANKRUPTCY COURT
                                                    ____________________________
                                                               NEW JERSEY



      Zoila R. Peguero
In re ___________________________________,                                                Case No. ___________________
                  Debtor
                                                                                                  7
                                                                                          Chapter ____________

                                                    SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical
Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.

                                                  ATTACHED
 NAME OF SCHEDULE                                  (YES/NO)      NO. OF SHEETS             ASSETS               LIABILITIES              OTHER

 A - Real Property                                                                    $    200,000.00

 B - Personal Property                                                                $      16,038.00

 C - Property Claimed
     as Exempt

 D - Creditors Holding                                                                                      $       365,750.00
     Secured Claims

 E - Creditors Holding Unsecured                                                                            $                0.00
     Priority Claims
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured                                                                            $         54,387.67
     Nonpriority Claims


 G - Executory Contracts and
     Unexpired Leases


 H - Codebtors


 I - Current Income of                                                                                                              $          770.00
     Individual Debtor(s)

 J - Current Expenditures of Individual                                                                                             $        5,290.00
     Debtors(s)

                                          TOTAL                                       $    216,038.00 $             420,137.67
                                                                         0
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B 6 Summary (Official Form 6 - Summary) (12/14)


                                  UNITED STATES BANKRUPTCY COURT
                                                  _________________________________
                                                             NEW JERSEY




      Zoila R. Peguero
In re ___________________________________,                                              Case No. ___________________
                 Debtor
                                                                                                7
                                                                                        Chapter ____________

    STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

          Q Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.



 Type of Liability                                                    Amount

 Domestic Support Obligations (from Schedule E)                       $            0.00
 Taxes and Certain Other Debts Owed to Governmental Units             $            0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was                 $            0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                           $            0.00
 Domestic Support, Separation Agreement, and Divorce Decree           $
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar          $            0.00
 Obligations (from Schedule F)

                                                           TOTAL      $            0.00

State the following:
 Average Income (from Schedule I, Line 12)                            $         770.00
 Average Expenses (from Schedule J, Line 22)                          $       5,290.00
 Current Monthly Income (from Form 22A-1 Line 11; OR, Form            $       2,170.00
 22B Line 14; OR, Form 22C-1 Line 14)

State the following:
  1. Total from Schedule D, “UNSECURED PORTION, IF                                        $      165,750.00
  ANY” column

  2. Total from Schedule E, “AMOUNT ENTITLED TO                       $            0.00
  PRIORITY” column.

  3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                       $              0.00
  PRIORITY, IF ANY” column

  4. Total from Schedule F                                                                $       54,387.67

  5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                            $      220,137.67
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B6 Declaration (Official Form 6 - Declaration) (12/07)             Doc 1            Filed 12/05/14 Entered 12/05/14 09:13:35                                                                  Desc Main
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      In re
              Zoila R. Peguero
              _________________________________________                                                                  ,                Case No. ______________________________
                             Debtor                                                                                                                            (if known)




                              DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


                                                                                                            16 sheets, and that they are true and correct to the best of
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _____
my knowledge, information, and belief.


     December 5, 2014
Date __________________________________                                                                                        /s/Zoila Peguero
                                                                                                                    Signature: ________________________________________________
                                                                                                                                                   Zoila R. Peguero Debtor

Date __________________________________                                                                             Signature: ________________________________________________
                                                                                                                                                                                            (Joint Debtor, if any)

                                                                                                                          [If joint case, both spouses must sign.]

                                   -------------------------------------------------------------------------------------------------------------------------------------------
                             DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have provided
the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h) and 342(b); and, (3) if rules or guidelines have been
promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum
amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required by that section.

_____________________________________________________                                             _____________________________
Printed or Typed Name and Title, if any,                                                          Social Security No.
of Bankruptcy Petition Preparer                                                                   (Required by 11 U.S.C. § 110.)

If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
who signs this document.
_________________________________
_________________________________
_________________________________
Address

X _____________________________________________________                                                                         ____________________
 Signature of Bankruptcy Petition Preparer                                                                                      Date


Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
18 U.S.C. § 156.
   --------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------

                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


    I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of the
partnership ] of the ___________________________________ [corporation or partnership] named as debtor in this case, declare under penalty of perjury that I have
read the foregoing summary and schedules, consisting of _____ sheets (Total shown on summary page plus 1), and that they are true and correct to the best of my
knowledge, information, and belief.


Date ______________________________________
                                                                                                        Signature: _____________________________________________________________

                                                                                                                       ____________________________________________________________
                                                                                                                         [Print or type name of individual signing on behalf of debtor.]

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
 ----------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
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B 1D (Official Form 1, Exhibit D) (12/09)




                             UNITED STATES BANKRUPTCY COURT
                                                          NEW JERSEY

In re Zoila R. Peguero                                                      Case No.
                                       Debtor

            EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                            CREDIT COUNSELING REQUIREMENT

Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the
court can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid,
and your creditors will be able to resume collection activities against you. If your case is dismissed
and you file another bankruptcy case later, you may be required to pay a second filing fee and you
may have to take extra steps to stop creditors’ collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must
complete and file a separate Exhibit D. Check one of the five statements below and attach any documents
as directed.

         1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a
credit counseling agency approved by the United States trustee or bankruptcy administrator that outlined
the opportunities for available credit counseling and assisted me in performing a related budget analysis,
and I have a certificate from the agency describing the services provided to me. Attach a copy of the
certificate and a copy of any debt repayment plan developed through the agency.

         2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a
credit counseling agency approved by the United States trustee or bankruptcy administrator that outlined
the opportunities for available credit counseling and assisted me in performing a related budget analysis,
but I do not have a certificate from the agency describing the services provided to me. You must file a
copy of a certificate from the agency describing the services provided to you and a copy of any debt
repayment plan developed through the agency no later than 15 days after your bankruptcy case is filed.
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B 1D (Official Form 1, Exh. D) (12/09) – Cont.



         3. I certify that I requested credit counseling services from an approved agency but was unable
to obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy
case now.

If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from
the agency that provided the counseling, together with a copy of any debt management plan
developed through the agency. Failure to fulfill these requirements may result in dismissal of your
case. Any extension of the 30-day deadline can be granted only for cause and is limited to a
maximum of 15 days. Your case may also be dismissed if the court is not satisfied with your reasons
for filing your bankruptcy case without first receiving a credit counseling briefing.

            4. I am not required to receive a credit counseling briefing because of:

                   Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness
          or mental deficiency so as to be incapable of realizing and making rational decisions with respect
          to financial responsibilities.);
                   Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of
          being unable, after reasonable effort, to participate in a credit counseling briefing in person, by
          telephone, or through the Internet.);
                   Active military duty in a military combat zone.

         5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.C. ' 109(h) does not apply in this district.

          I certify under penalty of perjury that the information provided above is true and correct.


Signature of Debtor: /s/Zoila Peguero

Date: December 5, 2014




                                                               2
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B 7 (Official Form 7) (04/13)
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                          UNITED STATES BANKRUPTCY COURT
                                                           NEW JERSEY


In re: Zoila R. Peguero                                                 Case No
                                 Debtor                                                             (if known)



                                          STATEMENT OF FINANCIAL AFFAIRS

        1. Income from employment or operation of business
None        State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
           the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
            beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
            two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
            the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
            of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
            under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
            spouses are separated and a joint petition is not filed.)

                            AMOUNT                                          SOURCE

            Debtor:
                         Current Year (2014):


                         Previous Year 1 (2013):
                         $15,820.00                                       Self


                         Previous Year 2 (2012):

            Joint Debtor:
                      N/A


            2. Income other than from employment or operation of business

None        State the amount of income received by the debtor other than from employment, trade, profession, operation of the
           debtor's business during the two years immediately preceding the commencement of this case. Give particulars. If a
            joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
            must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
            petition is not filed.)

                                AMOUNT                                        SOURCE




            3. Payments to creditors

            Complete a. or b., as appropriate, and c.

None        a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
           goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
            this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
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         Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or
         as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling
         agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
         whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

         NAME AND ADDRESS OF CREDITOR                               DATES OF               AMOUNT                  AMOUNT
                                                                    PAYMENTS               PAID                    STILL OWING


         Debtor:

None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
        within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
         constitutes or is affected by such transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*)
         any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
         repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors
         filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or
         not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

         NAME AND ADDRESS OF CREDITOR                                DATES OF               AMOUNT                 AMOUNT
                                                                     PAYMENTS/              PAID OR                STILL
                                                                     TRANSFERS              VALUE OF               OWING
                                                                                            TRANSFERS




None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case
        to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
         include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
         a joint petition is not filed.)

         NAME AND ADDRESS OF CREDITOR                                DATE OF                AMOUNT                 AMOUNT
         AND RELATIONSHIP TO DEBTOR                                  PAYMENT                PAID                   STILL OWING




         4. Suits and administrative proceedings, executions, garnishments and attachments

None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
        preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
         information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
         and a joint petition is not filed.)separated and a joint petition is not filed.)

         CAPTION OF SUIT                               NATURE OF                  COURT OR                   STATUS OR
         AND CASE NUMBER                               PROCEEDING                 AGENCY AND                 DISPOSITION
                                                                                  LOCATION

         Debtor:
         First American Accepatnce v. Zoila          Collection Action           Superior Court of New      Judgment Entered
         Olivero                                                                 Jersey, Law Division,
         Case Number: DC-1522-10                                                 Special Civil Part
                                                                                 Union County


None     b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one
        year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13

* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date
of adjustment.
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       must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                                                                   DESCRIPTION
       OF PERSON FOR WHOSE                                         DATE OF                AND VALUE
       BENEFIT PROPERTY WAS SEIZED                                 SEIZURE                OF PROPERTY




       5. Repossessions, foreclosures and returns

None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
      of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                  DATE OF REPOSSESSION,                     DESCRIPTION
       NAME AND ADDRESS                           FORECLOSURE SALE,                         AND VALUE
       OF CREDITOR OR SELLER                      TRANSFER OR RETURN                        OF PROPERTY




       6. Assignments and receiverships

None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
       filed.)

                                                                                          TERMS OF
       NAME AND ADDRESS                                            DATE OF                ASSIGNMENT
       OF ASSIGNEE                                                 ASSIGNMENT             OR SETTLEMENT




None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
      immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)

                                          NAME AND LOCATION                                      DESCRIPTION
       NAME AND ADDRESS                   OF COURT                            DATE OF            AND VALUE
       OF CUSTODIAN                       CASE TITLE & NUMBER                 ORDER              OF PROPERTY




       7. Gifts

None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
      except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
       and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
       chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                   RELATIONSHIP                                           DESCRIPTION
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       OF PERSON                          TO DEBTOR,                         DATE               AND VALUE
       OR ORGANIZATION                    IF ANY                             OF GIFT            OF GIFT




       8. Losses

None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
      of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

       DESCRIPTION                      DESCRIPTION OF CIRCUMSTANCES AND, IF
       AND VALUE OF                     LOSS WAS COVERED IN WHOLE OR IN PART                            DATE
       PROPERTY                         BY INSURANCE, GIVE PARTICULARS                                  OF LOSS




       9. Payments related to debt counseling or bankruptcy

None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
      consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
       within one year immediately preceding the commencement of this case.

                                                DATE OF PAYMENT,                          AMOUNT OF MONEY OR
       NAME AND ADDRESS                         NAME OF PAYER IF                          DESCRIPTION AND
       OF PAYEE                                 OTHER THAN DEBTOR                         VALUE OF PROPERTY

       Debtor:
       Thomas M. Egan, Esq.                     N/A                                       $1,250.00
       1000 Clifton Avenue
       Clifton, NJ 07013


       Allen Credit and Debt Counseling         N/A                                       $35.00
       Agency
       ***Bankruptcy dtr counseling payee
       address RTE***




       10. Other transfers

None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of
      the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
       this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                              DESCRIBE PROPERTY
       NAME AND ADDRESS OF TRANSFEREE,                                                        TRANSFERRED AND
       RELATIONSHIP TO DEBTOR                                          DATE                   VALUE RECEIVED




None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
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      to a self-settled trust or similar device of which the debtor is a beneficiary.

                                                            DATE(S) OF           AMOUNT OF MONEY OR DESCRIPTION
       NAME OF TRUST OR OTHER                               TRANSFER(S)          AND VALUE OF PROPERTY OR DEBTOR’S
       DEVICE                                                                    INTEREST IN PROPERTY




       11. Closed financial accounts

None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
      closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
       checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
       held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
       institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
       instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated
       and a joint petition is not filed.)

                                                                   TYPE OF ACCOUNT, LAST FOUR                 AMOUNT AND
       NAME AND ADDRESS                                            DIGITS OF ACCOUNT NUMBER,                  DATE OF SALE
       OF INSTITUTION                                              AND AMOUNT OF FINAL                        OR CLOSING
                                                                   BALANCE




       12. Safe deposit boxes

None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
      within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
       chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS                      NAMES AND ADDRESSES                DESCRIPTION               DATE OF
       OF BANK OR                            OF THOSE WITH ACCESS               OF                        TRANSFER
       OTHER DEPOSITORY                      TO BOX OR DEPOSITORY               CONTENTS                  OR SURRENDER,
                                                                                                          IF ANY




       13. Setoffs

None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)

                                                                                DATE OF                      AMOUNT
       NAME AND ADDRESS OF CREDITOR                                             SETOFF                       OF SETOFF




       14. Property held for another person
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None   List all property owned by another person that the debtor holds or controls.


       NAME AND ADDRESS                          DESCRIPTION AND
       OF OWNER                                  VALUE OF PROPERTY                        LOCATION OF PROPERTY




       15. Prior address of debtor

None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises
      which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
       filed, report also any separate address of either spouse.

       ADDRESS                                     NAME USED                               DATES OF OCCUPANCY




       16. Spouses and Former Spouses

None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
      California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years
       immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
       any former spouse who resides or resided with the debtor in the community property state.

       NAME




       17. Environmental Information.

       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
       releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
       other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
       or material.

       Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
       formerly owned or operated by the debtor, including, but not limited to, disposal sites. "

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
       material, pollutant, or contaminant or similar term under an Environmental Law.

None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental
      unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
       governmental unit, the date of the notice, and, if known, the Environmental Law:

       SITE NAME                           NAME AND ADDRESS     DATE OF                                  ENVIRONMENTAL
       AND ADDRESS                         OF GOVERNMENTAL UNIT NOTICE                                   LAW




None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
      of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
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          SITE NAME                             NAME AND ADDRESS     DATE OF                                    ENVIRONMENTAL
          AND ADDRESS                           OF GOVERNMENTAL UNIT NOTICE                                     LAW




None      c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
         respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a
          party to the proceeding, and the docket number.

          NAME AND ADDRESS                                                                                STATUS OR
          OF GOVERNMENTAL UNIT                                             DOCKET NUMBER                  DISPOSITION




          18 . Nature, location and name of business

None      a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
         and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
          executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
          other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
          which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding
          the commencement of this case.

                If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
                and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
                the voting or equity securities, within six years immediately preceding the commencement of this case.

                If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
                and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
                the voting or equity securities within six years immediately preceding the commencement of this case.


                               LAST FOUR DIGITS
                               OF SOCIAL-SECURITY                                                                       BEGINNING
                               OR OTHER INDIVIDUAL                                                                      AND
                               TAXPAYER-I.D. NO                                                 NATURE OF               ENDING
          NAME                 (ITIN)/ COMPLETE EIN             ADDRESS                         BUSINESS                DATES




None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as
         defined in 11 U.S.C. § 101.

          NAME                                      ADDRESS




           The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
debtor who is or has been, within six years immediately preceding the commencement of this case, any of the following: an
officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed in a trade, profession, or other activity,
either full- or part-time.
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           (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
business, as defined above, within six years immediately preceding the commencement of this case. A debtor who has not been
in business within those six years should go directly to the signature page.)


         19. Books, records and financial statements

None     a. List all bookkeepers and accountants who within two years immediately preceding the filing of this
        bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

         NAME AND ADDRESS                                                                   DATES SERVICES RENDERED




None     b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy
        case have audited the books of account and records, or prepared a financial statement of the debtor.

         NAME                                    ADDRESS                                    DATES SERVICES RENDERED




None     c. List all firms or individuals who at the time of the commencement of this case were in possession of the
        books of account and records of the debtor. If any of the books of account and records are not available, explain.

         NAME                                              ADDRESS




None     d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
        financial statement was issued by the debtor within two years immediately preceding the commencement of this case.

         NAME AND ADDRESS                                                                 DATE ISSUED




         20. Inventories

None     a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
        taking of each inventory, and the dollar amount and basis of each inventory.

                                                                                            DOLLAR AMOUNT
                                                                                            OF INVENTORY
                                                                                            (Specify cost, market or other
         DATE OF INVENTORY                       INVENTORY SUPERVISOR                       basis)




None     b. List the name and address of the person having possession of the records of each of the inventories reported
        in a., above.

                                                 NAME AND ADDRESSES
                                                 OF CUSTODIAN
         DATE OF INVENTORY                       OF INVENTORY RECORDS
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       21. Current Partners, Officers, Directors and Shareholders

None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
      partnership.

       NAME AND ADDRESS                            NATURE OF INTEREST                        PERCENTAGE OF INTEREST




None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
      directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
       corporation.

                                                                                             NATURE AND PERCENTAGE
       NAME AND ADDRESS                            TITLE                                     OF STOCK OWNERSHIP




       22. Former partners, officers, directors and shareholders

None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
      preceding the commencement of this case.

       NAME                                      ADDRESS                                     DATE OF WITHDRAWAL




None   b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
      within one year immediately preceding the commencement of this case.

       NAME AND ADDRESS                                    TITLE                                   DATE OF TERMINATION




       23 . Withdrawals from a partnership or distributions by a corporation

None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,
      including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
       during one year immediately preceding the commencement of this case.


       NAME & ADDRESS                                                                        AMOUNT OF MONEY
       OF RECIPIENT,                               DATE AND PURPOSE                          OR DESCRIPTION
       RELATIONSHIP TO DEBTOR                      OF WITHDRAWAL                             AND VALUE OF PROPERTY




       24. Tax Consolidation Group.

None   If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any
      consolidated group for tax purposes of which the debtor has been a member at any time within six years immediately
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       preceding the commencement of the case.

       NAME OF PARENT CORPORATION                                                    TAXPAYER-IDENTIFICATION NUMBER (EIN)




       25. Pension Funds.

None   If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to
      which the debtor, as an employer, has been responsible for contributing at any time within six years immediately
       preceding the commencement of the case.

       NAME OF PENSION FUND                                                         TAXPAYER-IDENTIFICATION NUMBER (EIN)



                                                                    ******


       I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs
       and any attachments thereto and that they are true and correct.



                                                                                 Signature
       Date December 5, 2014                                                     of Debtor         /s/Zoila Peguero

                                                                                 Signature of
                                                                                 Joint Debtor
       Date                                                                      (if any)

                                                           0 continuation sheets attached


          Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571
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B 8 (Official Form 8) (12/08)




                           UNITED STATES BANKRUPTCY COURT
                                                    NEW JERSEY
In re Zoila R. Peguero                                                        Case No.
           Debtor                                                             Chapter 7

           CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A – Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
secured by property of the estate. Attach additional pages if necessary.)

 Property No. 1
 Creditor's Name:                                          Describe Property Securing Debt:
 None
 Property will be (check one):
           Surrendered                        Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain ________________________________ (for example, avoid lien using 11
 U.S.C. § 522(f)).

 Property is (check one):
            Claimed as exempt                 Not claimed as exempt

PART B – Personal property subject to unexpired leases. (All three columns of Part B must be completed
for each unexpired lease. Attach additional pages if necessary.)
  Property No. 1
 Lessor’s Name:                          Describe Leased Property:                Lease will be Assumed pursuant
 None                                                                             to 11 U.S.C. § 365(p)(2):
                                                                                   YES            NO


I declare under penalty of perjury that the above indicates my intention as to any property of my
estate securing a debt and/or personal property subject to an unexpired lease.

Date: December 5, 2014                                             /s/Zoila Peguero
                                                                   Signature of Debtor




                                                                   Signature of Joint Debtor
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B 1C (Official Form 1, Exhibit C) (9/01)
[If, to the best of the debtor’s knowledge, the debtor owns or has possession of property that poses or is alleged to pose a
threat of imminent and identifiable harm to the public health or safety, attach this Exhibit “C” to the petition.]



                            UNITED STATES BANKRUPTCY COURT
                                                         NEW JERSEY

In re Zoila R. Peguero ,                                                           )   Case No.
                                     Debtor                                        )
                                                                                   )
                                                                                   )   Chapter 7


                                     EXHIBIT “C” TO VOLUNTARY PETITION
         1. Identify and briefly describe all real or personal property owned by or in possession of the debtor that, to the best of
the debtor’s knowledge, poses or is alleged to pose a threat of imminent and identifiable harm to the public health or safety
(attach additional sheets if necessary):


         2. With respect to each parcel of real property or item of personal property identified in question 1, describe the nature
and location of the dangerous condition, whether environmental or otherwise, that poses or is alleged to pose a threat of
imminent and identifiable harm to the public health or safety (attach additional sheets if necessary):
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 Fill in this information to identify your case:                                                       Check one box only as directed in this form and in
                                                                                                       Form 22A-1Supp:
 Debtor 1          Zoila R. Peguero
                   __________________________________________________________________
                     First Name             Middle Name             Last Name
                                                                                                       
                                                                                                       X
                                                                                                           1. There is no presumption of abuse.
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name             Last Name
                                                                                                          2. The calculation to determine if a presumption of
                                             NEW JERSEY                                                       abuse applies will be made under Chapter 7 Means
 United States Bankruptcy Court for : ______________________
                                                                                (State)
                                                                                                              Test Calculation (Official Form 22A–2).
 Case number
  (If known)
                     ___________________________________________                                          3. The Means Test does not apply now because of
                                                                                                              qualified military service but it could apply later.


                                                                                                        Check if this is an amended filing

Official Form 22A─1
Chapter 7 Statement of Your Current Monthly Income                                                                                                            12/14

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have
primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under
§ 707(b)(2) (Official Form 22A-1Supp) with this form.

 Part 1:         Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
     
     X     Not married. Fill out Column A, lines 2-11.
          Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
          Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                  under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse
                  are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
      Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy
      case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the
      amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not
      include any income amount more than once. For example, if both spouses own the same rental property, put the income from that property in
      one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A             Column B
                                                                                                       Debtor 1             Debtor 2 or
                                                                                                                            non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
    payroll deductions).
                                                                                                             0.00
                                                                                                        $_________            $__________

 3. Alimony and maintenance payments. Do not include payments from a spouse if
    Column B is filled in.                                                                                 770.00
                                                                                                        $_________            $__________

 4. All amounts from any source which are regularly paid for household expenses
    of you or your dependents, including child support. Include regular contributions
    from an unmarried partner, members of your household, your dependents, parents,
    and roommates. Include regular contributions from a spouse only if Column B is not
    filled in. Do not include payments you listed on line 3.
                                                                                                             0.00
                                                                                                        $_________            $__________

 5. Net income from operating a business, profession or farm
     Gross receipts (before all deductions)                               0.00
                                                                     $_________
     Ordinary and necessary operating expenses                            0.00
                                                                   – $_________
     Net monthly income from a business, profession, or farm              0.00
                                                                     $_________           Copy here         0.00
                                                                                                        $_________            $__________

 6. Net income from rental and other real property
    Gross receipts (before all deductions)                            1,400.00
                                                                     $_________
     Ordinary and necessary operating expenses                            0.00
                                                                   – $_________
     Net monthly income from rental or other real property            1,400.00
                                                                     $_________           Copy here     1,400.00
                                                                                                        $_________            $__________
 7. Interest, dividends, and royalties                                                                       0.00
                                                                                                        $_________            $__________

Official Form 22A-1                           Chapter 7 Statement of Your Current Monthly Income                                                       page 1
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Debtor 1            Zoila R. Peguero
                    _______________________________________________________                                         Case number (if known)_____________________________________
                    First Name          Middle Name                 Last Name




                                                                                                                       Column A                Column B
                                                                                                                       Debtor 1                Debtor 2 or
                                                                                                                                               non-filing spouse
 8. Unemployment compensation                                                                                                  0.00
                                                                                                                         $__________             $_________
     Do not enter the amount if you contend that the amount received was a benefit
     under the Social Security Act. Instead, list it here: ........................... 
           For you .......................................................................   $______________
           For your spouse..........................................................         $______________
 9. Pension or retirement income. Do not include any amount received that was a
    benefit under the Social Security Act.                                                                                     0.00
                                                                                                                         $__________             $__________
 10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments received
     as a victim of a war crime, a crime against humanity, or international or domestic
     terrorism. If necessary, list other sources on a separate page and put the total on line 10c.

        10a. _______________________________________                                                                     $_________              $__________
        10b. ______________________________________                                                                      $_________              $__________
        10c. Total amounts from separate pages, if any.                                                               +$_________
                                                                                                                             0.00              + $__________
 11. Calculate your total current monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                                    2,170.00
                                                                                                                         $_________
                                                                                                                                           +     $__________
                                                                                                                                                                    =     2,170.00
                                                                                                                                                                        $__________
                                                                                                                                                                        Total current monthly
                                                                                                                                                                        income

 Part 2:          Determine Whether the Means Test Applies to You

 12. Calculate your current monthly income for the year. Follow these steps:
     12a.       Copy your total current monthly income from line 11..................................................................... Copy line 11 here12a.        2,170.00
                                                                                                                                                                    $__________

                Multiply by 12 (the number of months in a year).                                                                                                    x 12
     12b.       The result is your annual income for this part of the form.                                                                                  12b.      26,040.00
                                                                                                                                                                    $__________

 13. Calculate the median family income that applies to you. Follow these steps:

     Fill in the state in which you live.                                                    New Jersey
     Fill in the number of people in your household.
                                                                                             3
     Fill in the median family income for your state and size of household. ................................................................................. 13.    89,413.00
                                                                                                                                                                    $__________
     To find a list of applicable median income amounts, go online using the link specified in the separate
     instructions for this form. This list may also be available at the bankruptcy clerk’s office.
 14. How do the lines compare?
     14a. 
          X
            Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                    Go to Part 3.
     14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 22A-2.
                    Go to Part 3 and fill out Form 22A–2.

 Part 3:            Sign Below

                  By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


                   /s/Zoila Peguero
                        ___________________________________________________                                     ______________________________________
                        Signature of Debtor 1                                                                    Signature of Debtor 2

                             12/05/2014
                       Date _________________                                                                    Date _________________
                            MM / DD / YYYY                                                                            MM / DD / YYYY

                  If you checked line 14a, do NOT fill out or file Form 22A–2.
                  If you checked line 14b, fill out Form 22A–2 and file it with this form.
¯¯¯¯¯

Official Form 22A-1                                            Chapter 7 Statement of Your Current Monthly Income                                                          page 2
                Case 14-34604-VFP                   Doc 1      Filed 12/05/14 Entered 12/05/14 09:13:35                            Desc Main
   Fill in this information to identify your case:            Document      Page 43 of 71
  Debtor 1           Zoila R. Peguero
                    __________________________________________________________________
                      First Name                Middle Name               Last Name

  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name                Middle Name               Last Name


                                              NEW JERSEY
  United States Bankruptcy Court for : ______________________
                                                                                      (State)
  Case number         ___________________________________________
   (If known)

                                                                                                          Check if this is an amended filing


Official Form 22A─1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                          12/14

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 22A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 22A-1 if you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).


Part 1:         Identify the Kind of Debts You Have

1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an individual primarily for a
   personal, family, or household purpose.” Make sure that your answer is consistent with the “Nature of Debts” box on page 1 of the Voluntary Petition
   (Official Form 1).

       No. Go to Form 22A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit
            this supplement with the signed Form 22A-1.
   
   X    Yes. Go to Part 2.

Part 2:         Determine Whether Military Service Provisions Apply to You

2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
   
   X    No. Go to line 3.
       Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
             10 U.S.C. § 101(d)(1)); 32 U.S.C. § 901(1).

                  No. Go to line 3.
                  Yes. Go to Form 22A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit
                            this supplement with the signed Form 22A-1.
3. Are you or have you been a Reservist or member of the National Guard?
   X No. Complete Form 22A-1. Do not submit this supplement.
       Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
               No. Complete Form 22A-1. Do not submit this supplement.
               Yes. Check any one of the following categories that applies:

                   I was called to active duty after September 11, 2001, for at least          If you checked one of the categories to the left, go to
                    90 days and remain on active duty.                                          Form 22A-1. On the top of page 1 of Form 22A-1, check
                                                                                                box 3, The Means Test does not apply now, and sign
                   I was called to active duty after September 11, 2001, for at least
                                                                                                Part 3. Then submit this supplement with the signed
                    90 days and was released from active duty on _______________,
                                                                                                Form 22A-1. You are not required to fill out the rest of
                    which is fewer than 540 days before I file this bankruptcy case.
                                                                                                Official Form 22A-1 during the exclusion period. The
                   I am performing a homeland defense activity for at least 90 days.           exclusion period means the time you are on active duty
                                                                                                or are performing a homeland defense activity, and for
                   I performed a homeland defense activity for at least 90 days,               540 days afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                    ending on _______________, which is fewer than 540 days before
                                                                                                If your exclusion period ends before your case is closed,
                    I file this bankruptcy case.
                                                                                                you may have to file an amended form later.




Official Form 22A-1Supp                           Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                               page 1
                Case 14-34604-VFP                        Doc 1          Filed 12/05/14 Entered 12/05/14 09:13:35                                          Desc Main
                                                                       Document      Page 44 of 71
  Fill in this information to identify your case:                                                                                   Check the appropriate box as directed in
                                                                                                                                    lines 40 or 42:

  Debtor 1          Zoila R. Peguero
                    _________________________________________________________________                                                According to the calculations required by this
                      First Name                     Middle Name                    Last Name
                                                                                                                                     Statement:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name                     Middle Name                    Last Name                                           1. There is no presumption of abuse.
                                              NEW JERSEY
  United States Bankruptcy Court for : ______________________                                                                           2. There is a presumption of abuse.
                                                                                                (State)
  Case number         ___________________________________________
   (If known)
                                                                                                                                     Check if this is an amended filing



Official Form 22A–2
Chapter 7 Means Test Calculation                                                                                                                                            12/14

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 22A-1).
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known).


Part 1:           Determine Your Adjusted Income



1. Copy your total current monthly income. ....................................................... Copy line 11 from Official Form 22A-1 here ............1.           $___________

2. Did you fill out Column B in Part 1 of Form 22A–1?

    
    X    No. Fill in $0 on line 3d.
        Yes. Is your spouse filing with you?

                No. Go to line 3.
                Yes. Fill in $0 on line 3d.

3. Adjust your current monthly income by subtracting any part of your spouse’s income not used to pay for the
   household expenses of you or your dependents. Follow these steps:

    On line 11, Column B of Form 22A–1, was any amount of the income you reported for your spouse NOT regularly
    used for the household expenses of you or your dependents?

        No. Fill in 0 on line 3d.
        Yes. Fill in the information below:

                State each purpose for which the income was used                                          Fill in the amount you
                For example, the income is used to pay your spouse’s tax debt or to support               are subtracting from
                people other than you or your dependents                                                  your spouse’s income


            3a. ___________________________________________________                                         $______________


            3b. ___________________________________________________                                         $______________

            3c. ___________________________________________________                                       + $______________
            3d. Total. Add lines 3a, 3b, and 3c. .................................................                    0.00
                                                                                                            $______________
                                                                                                                                   Copy total here    ........ 3d.   ─ $__________
                                                                                                                                                                              0.00


4. Adjust your current monthly income. Subtract line 3d from line 1.                                                                                                   $__________




Official Form 22A–2                                                      Chapter 7 Means Test Calculation                                                                page 1
             Case 14-34604-VFP                            Doc 1
                                                       Filed 12/05/14 Entered 12/05/14 09:13:35 Desc Main
Debtor 1        Zoila R. Peguero                      Document
                _______________________________________________________
                                                                        Page 45 ofCase
                                                                                   71 number (if known)_____________________________________
                First Name         Middle Name               Last Name



Part 2:        Calculate Your Deductions from Your Income


  The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to
  answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for
  this form. This information may also be available at the bankruptcy clerk’s office.

  Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your
  actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted from your spouse’s income in line 3
  and do not deduct any operating expenses that you subtracted from income in lines 5 and 6 of Form 22A–1.

  If your expenses differ from month to month, enter the average expense.

  Whenever this part of the form refers to you, it means both you and your spouse if Column B of Form 22A–1 is filled in.



   5. The number of people used in determining your deductions from income
       Fill in the number of people who could be claimed as exemptions on your federal income tax return,                                       3
       plus the number of any additional dependents whom you support. This number may be different from
       the number of people in your household.


   National Standards                 You must use the IRS National Standards to answer the questions in lines 6-7.


   6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National Standards, fill
      in the dollar amount for food, clothing, and other items.                                                                                                             $__________



   7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
      the dollar amount for out-of-pocket health care. The number of people is split into two categoriespeople who are under 65 and
      people who are 65 or olderbecause older people have a higher IRS allowance for health care costs. If your actual expenses are
      higher than this IRS amount, you may deduct the additional amount on line 22.


       People who are under 65 years of age


       7a.    Out-of-pocket health care allowance per person
                                                                                    $____________


       7b.    Number of people who are under 65
                                                                                    X ______

                                                                                                               Copy line 7c
       7c.    Subtotal. Multiply line 7a by line 7b.                                $____________                                $___________
                                                                                                               here .......




           People who are 65 years of age or older


       7d.    Out-of-pocket health care allowance per person
                                                                                    $____________

       7e.    Number of people who are 65 or older                                  X ______

                                                                                                               Copy line 7f
       7f.    Subtotal. Multiply line 7d by line 7e.                                $____________
                                                                                                               here ......    + $___________

                                                                                                                                                Copy total here
       7g.    Total. Add lines 7c and 7f....................................................................................     $___________
                                                                                                                                                ..................... 7g.   $__________




  Official Form 22A–2                                                      Chapter 7 Means Test Calculation                                                                 page 2
             Case 14-34604-VFP                 Doc 1   Filed 12/05/14 Entered 12/05/14 09:13:35 Desc Main
Debtor 1        Zoila R. Peguero                      Document
                _______________________________________________________
                                                                        Page 46 ofCase
                                                                                   71 number (if known)_____________________________________
                First Name    Middle Name         Last Name




   Local Standards           You must use the IRS Local Standards to answer the questions in lines 8-15.

   Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for bankruptcy
   purposes into two parts:
    Housing and utilities – Insurance and operating expenses
    Housing and utilities – Mortgage or rent expenses

   To answer the questions in lines 8-9, use the U.S. Trustee Program chart.
   To find the chart, go online using the link specified in the separate instructions for this form. This chart may also be available at the
   bankruptcy clerk’s office.


   8. Housing and utilities – Insurance and operating expenses: Using the number of people you entered in line 5, fill in the
      dollar amount listed for your county for insurance and operating expenses.                                                               $____________

   9. Housing and utilities – Mortgage or rent expenses:

      9a. Using the number of people you entered in line 5, fill in the dollar amount listed
             for your county for mortgage or rent expenses.                                              9a.      $___________


      9b.    Total average monthly payment for all mortgages and other debts secured by your home.


             To calculate the total average monthly payment, add all amounts that are
             contractually due to each secured creditor in the 60 months after you file for
             bankruptcy. Then divide by 60.

              Name of the creditor                                          Average monthly
                                                                            payment



              ___________________________________                              $__________


              ___________________________________                              $__________


              ___________________________________                          +   $__________


                                                                                                Copy line 9b                        Repeat this
                                  9b. Total average monthly payment            $__________
                                                                                                here
                                                                                                                ─ $___________      amount on
                                                                                                                                    line 33a.

       9c.    Net mortgage or rent expense.
              Subtract line 9b (total average monthly payment) from line 9a (mortgage or                                            Copy
              rent expense). If this amount is less than $0, enter $0.                                    9c.     $___________ line 9c         $___________
                                                                                                                                    here




   10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects                    $___________
       the calculation of your monthly expenses, fill in any additional amount you claim.

      Explain           _________________________________________________________________
      why:
                        _________________________________________________________________

   11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
             0. Go to line 14.
             1. Go to line 12.
             2 or more. Go to line 12.



   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
       operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                     $___________



  Official Form 22A–2                                         Chapter 7 Means Test Calculation                                                    page 3
           Case 14-34604-VFP                      Doc 1
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Debtor 1       Zoila R. Peguero                      Document
               _______________________________________________________
                                                                       Page 47 ofCase
                                                                                  71 number (if known)_____________________________________
               First Name         Middle Name       Last Name




   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for
       each vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle. In
       addition, you may not claim the expense for more than two vehicles.


       Vehicle 1            Describe Vehicle 1:   _______________________________________________________________
                                                  _______________________________________________________________


       13a.   Ownership or leasing costs using IRS Local Standard                                  13a.      $___________

       13b.   Average monthly payment for all debts secured by Vehicle 1.
              Do not include costs for leased vehicles.
              To calculate the average monthly payment here and on line 13e, add all
              amounts that are contractually due to each secured creditor in the 60 months
              after you filed for bankruptcy. Then divide by 60.


                    Name of each creditor for Vehicle 1                Average monthly
                                                                       payment

                                                                                             Copy 13b                            Repeat this
                ___________________________________                    $______________
                                                                                             here
                                                                                                          ─ $____________        amount on
                                                                                                                                 line 33b.


                                                                                                                                Copy net
       13c. Net Vehicle 1 ownership or lease expense                                                                            Vehicle 1
              Subtract line 13b from line 13a. If this amount is less than $0, enter $0.           13c.     $____________       expense
                                                                                                                                here .....    $___________




       Vehicle 2            Describe Vehicle 2:   _______________________________________________________________
                                                  _______________________________________________________________


       13d.   Ownership or leasing costs using IRS Local Standard                                  13d.     $____________

       13e.   Average monthly payment for all debts secured by Vehicle 2. Do not
              include costs for leased vehicles.

                    Name of each creditor for Vehicle 2                Average monthly
                                                                       payment

                                                                                              Copy 13e                           Repeat this
                _____________________________________                  $______________
                                                                                              here
                                                                                                          ─ $____________        amount on
                                                                                                                                 line 33c.

                                                                                                                                Copy net
       13f. Net Vehicle 2 ownership or lease expense                                                                            Vehicle 2
              Subtract line 13e from 13d. If this amount is less than $0, enter $0.                13f.     $____________       expense
                                                                                                                                               $__________
                                                                                                                                here ..... 




   14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
       Transportation expense allowance regardless of whether you use public transportation.                                                   $__________


   15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
       deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
       more than the IRS Local Standard for Public Transportation.
                                                                                                                                               $__________




  Official Form 22A–2                                           Chapter 7 Means Test Calculation                                               page 4
           Case 14-34604-VFP                     Doc 1
                                                     Filed 12/05/14 Entered 12/05/14 09:13:35 Desc Main
Debtor 1      Zoila R. Peguero                      Document
              _______________________________________________________
                                                                      Page 48 ofCase
                                                                                 71 number (if known)_____________________________________
              First Name    Middle Name            Last Name




   Other Necessary Expenses               In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                          the following IRS categories.


   16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes, self-
       employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from your                     $___________
       pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12 and
       subtract that number from the total monthly amount that is withheld to pay for taxes.
       Do not include real estate, sales, or use taxes.

   17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
       union dues, and uniform costs.
       Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.                   $___________


   18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
       together, include payments that you make for your spouse’s term life insurance. Do not include premiums for life
       insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life insurance other than term.
                                                                                                                                              $___________


   19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
       agency, such as spousal or child support payments.
                                                                                                                                              $___________
       Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

   20. Education: The total monthly amount that you pay for education that is either required:
        as a condition for your job, or
        for your physically or mentally challenged dependent child if no public education is available for similar services.                 $___________


   21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
       Do not include payments for any elementary or secondary school education.                                                              $__________


   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that
       is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
       health savings account. Include only the amount that is more than the total entered in line 7.
       Payments for health insurance or health savings accounts should be listed only in line 25.                                             $___________


   23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for
       you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
       service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it     +   $__________
       is not reimbursed by your employer.
       Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
       expenses, such as those reported on line 5 of Official Form 22A-1, or any amount you previously deducted.

   24. Add all of the expenses allowed under the IRS expense allowances.
                                                                                                                                              $__________
       Add lines 6 through 23.




  Official Form 22A–2                                          Chapter 7 Means Test Calculation                                               page 5
           Case 14-34604-VFP                  Doc 1   Filed 12/05/14 Entered 12/05/14 09:13:35 Desc Main
Debtor 1       Zoila R. Peguero                      Document
               _______________________________________________________
                                                                       Page 49 ofCase
                                                                                  71 number (if known)_____________________________________
               First Name     Middle Name        Last Name




   Additional Expense Deductions            These are additional deductions allowed by the Means Test.
                                            Note: Do not include any expense allowances listed in lines 6-24.


   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
       dependents.

       Health insurance                                          $____________

       Disability insurance                                      $____________

       Health savings account                                 + $____________

       Total                                                     $____________                   Copy total here ....................................   $__________

       Do you actually spend this total amount?

          No. How much do you actually spend?                    $___________
          Yes


   26. Continued contributions to the care of household or family members. The actual monthly expenses that you will                                     $__________
       continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
       your household or member of your immediate family who is unable to pay for such expenses.


   27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety
       of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.                                    $_________

       By law, the court must keep the nature of these expenses confidential.


   28. Additional home energy costs. Your home energy costs are included in your non-mortgage housing and utilities
       allowance on line 8.
       If you believe that you have home energy costs that are more than the home energy costs included in the non-mortgage
       housing and utilities allowance, then fill in the excess amount of home energy costs.                                                             $__________
       You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
       claimed is reasonable and necessary.



   29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $156.25*
       per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
       elementary or secondary school.
                                                                                                                                                         $___________
       You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
       reasonable and necessary and not already accounted for in lines 6-23.
       * Subject to adjustment on 4/01/16, and every 3 years after that for cases begun on or after the date of adjustment.


   30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are                                      $__________
       higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than
       5% of the food and clothing allowances in the IRS National Standards.
       To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for
       this form. This chart may also be available at the bankruptcy clerk’s office.
       You must show that the additional amount claimed is reasonable and necessary.


   31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial                             $__________
                                                                                                                                                                _
       instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).


   32. Add all of the additional expense deductions.                                                                                                     $___________
       Add lines 25 through 31.




  Official Form 22A–2                                        Chapter 7 Means Test Calculation                                                            page 6
             Case 14-34604-VFP                               Doc 1
                                                          Filed 12/05/14 Entered 12/05/14 09:13:35 Desc Main
Debtor 1           Zoila R. Peguero                      Document
                   _______________________________________________________
                                                                           Page 50 ofCase
                                                                                      71 number (if known)_____________________________________
                   First Name         Middle Name               Last Name




   Deductions for Debt Payment


   33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
       loans, and other secured debt, fill in lines 33a through 33g.
       To calculate the total average monthly payment, add all amounts that are contractually due to each secured
       creditor in the 60 months after you file for bankruptcy. Then divide by 60.


                                                                                                                                        Average monthly
                                                                                                                                        payment
                   Mortgages on your home:

           33a. Copy line 9b here .................................................................................................      $_____________

                   Loans on your first two vehicles:

           33b. Copy line 13b here. .............................................................................................        $_____________

           33c. Copy line 13e here. ........................................................................................... .        $_____________


           Name of each creditor for other secured debt                     Identify property that secures Does payment
                                                                            the debt                       include taxes or
                                                                                                           insurance?


           33d. _______________________________                             ________________________
                                                                                                                           No
                                                                                                                                          $____________
                                                                                                                           Yes


           33e. _______________________________                             ________________________
                                                                                                                           No
                                                                                                                                          $____________
                                                                                                                           Yes

                                                                                                                           No
           33f. _______________________________                             ________________________                                    + $____________
                                                                                                                           Yes

                                                                                                                                                           Copy total
      33g. Total average monthly payment. Add lines 33a through 33f. ..............................................                      $____________
                                                                                                                                                           here        $____________
                                                                                                                                                                               ___


   34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
       or other property necessary for your support or the support of your dependents?

              No. Go to line 35.
              Yes. State any amount that you must pay to a creditor, in addition to the payments
                    listed in line 33, to keep possession of your property (called the cure amount).
                    Next, divide by 60 and fill in the information below.

                       Name of the creditor                    Identify property that               Total cure                            Monthly cure
                                                               secures the debt                     amount                                amount

                       _______________________                 ____________________                $__________            ÷ 60 =          $_____________

                       _______________________                 ____________________                $__________            ÷ 60 =          $_____________

                       _______________________                 ____________________                $__________            ÷ 60 =        + $_____________
                                                                                                                                                           Copy total
                                                                                                                           Total          $_____________                 $___________
                                                                                                                                                           here


   35. Do you owe any priority claims such as a priority tax, child support, or alimony ─
       that are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

       
       X
              No. Go to line 36.
             Yes. Fill in the total amount of all of these priority claims. Do not include current or
                   ongoing priority claims, such as those you listed in line 19.

                      Total amount of all past-due priority claims ................................................................       $____________    ÷ 60 =        $____________




  Official Form 22A–2                                                         Chapter 7 Means Test Calculation                                                           page 7
           Case 14-34604-VFP                             Doc 1
                                                       Filed 12/05/14 Entered 12/05/14 09:13:35 Desc Main
Debtor 1        Zoila R. Peguero                      Document
                _______________________________________________________
                                                                        Page 51 ofCase
                                                                                   71 number (if known)_____________________________________
                First Name         Middle Name              Last Name




   36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
       For more information, go online using the link for Bankruptcy Basics specified in the separate
       instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk’s office.
       
       X
            No. Go to line 37.
           Yes. Fill in the following information.

                    Projected monthly plan payment if you were filing under Chapter 13                                                   $_____________
                    Current multiplier for your district as stated on the list issued by the
                    Administrative Office of the United States Courts (for districts in Alabama and
                    North Carolina) or by the Executive Office for United States Trustees (for all
                    other districts).                                                                                                 x ______
                    To find a list of district multipliers that includes your district, go online using the
                    link specified in the separate instructions for this form. This list may also be
                    available at the bankruptcy clerk’s office.
                                                                                                                                                            Copy total
                    Average monthly administrative expense if you were filing under Chapter 13                                           $_____________                     $_________
                                                                                                                                                            here



   37. Add all of the deductions for debt payment.                                                                                                                         $___________
       Add lines 33g through 36.


   Total Deductions from Income


   38. Add all of the allowed deductions.

      Copy line 24, All of the expenses allowed under IRS
                                                                                           $______________
      expense allowances .............................................................

      Copy line 32, All of the additional expense deductions .........                     $______________


      Copy line 37, All of the deductions for debt payment ............                  + $______________

      Total deductions                                                                     $______________                     Copy total here                             $___________


   Part 3:        Determine Whether There Is a Presumption of Abuse


   39. Calculate monthly disposable income for 60 months

       39a.    Copy line 4, adjusted current monthly income .....                          $_____________

       39b.    Copy line 38, Total deductions. ........                                  − $_____________
       39c.    Monthly disposable income. 11 U.S.C. § 707(b)(2).                                                               Copy line
                                                                                           $_____________                                         $____________
               Subtract line 39b from line 39a.                                                                                39c here

                For the next 60 months (5 years) ..........................................................................................       x 60
                                                                                                                                                                  Copy
       39d. Total. Multiply line 39c by 60. .............................................................................................. 39d.   $____________ line 39d
                                                                                                                                                                  here    $____________


   40. Find out whether there is a presumption of abuse. Check the box that applies:

           The line 39d is less than $7,475*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go
            to Part 5.

           The line 39d is more than $12,475*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You
            may fill out Part 4 if you claim special circumstances. Then go to Part 5.

           The line 39d is at least $7,475*, but not more than $12,475*. Go to line 41.
            * Subject to adjustment on 4/01/16, and every 3 years after that for cases filed on or after the date of adjustment.


  Official Form 22A–2                                                     Chapter 7 Means Test Calculation                                                                  page 8
            Case 14-34604-VFP                   Doc 1  Filed 12/05/14 Entered 12/05/14 09:13:35 Desc Main
Debtor 1        Zoila R. Peguero                      Document
                _______________________________________________________
                                                                        Page 52 ofCase
                                                                                   71 number (if known)_____________________________________
                First Name      Middle Name       Last Name




   41. 41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out A
            Summary of Your Assets and Liabilities and Certain Statistical Information Schedules
            (Official Form 6), you may refer to line 5 on that form.                                            41a.
                                                                                                                       $___________

                                                                                                                       x   .25

           41b. 25% of your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(I)
                                                                                                                       $___________
               Multiply line 41a by 0.25.                                                                                              Copy
                                                                                                                                                 $____________
                                                                                                                                       here



   42. Determine whether the income you have left over after subtracting all allowed deductions
       is enough to pay 25% of your unsecured, nonpriority debt.
       Check the box that applies:

            Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
             Go to Part 5.

            Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a presumption
             of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.




Part 4:         Give Details About Special Circumstances

43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
    reasonable alternative? 11 U.S.C. § 707(b)(2)(B).

      No. Go to Part 5.
      Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment
            for each item. You may include expenses you listed in line 25.


              You must give a detailed explanation of the special circumstances that make the expenses or income
              adjustments necessary and reasonable. You must also give your case trustee documentation of your actual
              expenses or income adjustments.

                                                                                                                       Average monthly expense
                 Give a detailed explanation of the special circumstances
                                                                                                                       or income adjustment

                 _______________________________________________________________________________                       $__________________

                 _______________________________________________________________________________                       $__________________

                 _______________________________________________________________________________
                                                                                                                       $__________________

                 _______________________________________________________________________________                       $__________________




Part 5:       Sign Below


              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.



               /s/Zoila Peguero
                  ___________________________________________________               ___________________________________
                  Signature of Debtor 1                                                 Signature of Debtor 2


                      12/05/2014
                 Date _________________                                                 Date _________________
                         MM / DD   / YYYY                                                     MM / DD   / YYYY



  Official Form 22A–2                                         Chapter 7 Means Test Calculation                                                     page 9
      Case 14-34604-VFP               Doc 1     Filed 12/05/14 Entered 12/05/14 09:13:35                       Desc Main
                                               Document      Page 53 of 71
B 23 (Official Form 23) (12/13)



                                  UNITED STATES BANKRUPTCY COURT
                                                 NEW JERSEY
                                  ______________________________________




           Zoila R. Peguero
     In re ______________________________________,                              Case No. ___________________
                                    Debtor
                                                                                        7
                                                                                Chapter ___________

     DEBTOR’S CERTIFICATION OF COMPLETION OF POSTPETITION INSTRUCTIONAL
             COURSE CONCERNING PERSONAL FINANCIAL MANAGEMENT
     This form should not be filed if an approved provider of a postpetition instructional course concerning personal financial
     management has already notified the court of the debtor’s completion of the course. Otherwise, every individual debtor
     in a chapter 7 or a chapter 13 case or in a chapter 11 case in which § 1141(d)(3) applies must file this certification. If a
     joint petition is filed and this certification is required, each spouse must complete and file a separate certification.
     Complete one of the following statements and file by the deadline stated below:

             G  I, ___________________________________________, the debtor in the above-styled case, hereby
                         (Printed Name of Debtor)
      certify that on __________________ (Date), I completed an instructional course in personal financial management
      provided by ________________________________________________________, an approved personal financial
                                                  (Name of Provider)
      management provider.

             Certificate No. (if any):_________________________________.


             G  I, __________________________________________, the debtor in the above-styled case, hereby
                         (Printed Name of Debtor)
      certify that no personal financial management course is required because of [Check the appropriate box.]:
                G Incapacity or disability, as defined in 11 U.S.C. § 109(h);
                G Active military duty in a military combat zone; or
                G Residence in a district in which the United States trustee (or bankruptcy administrator) has determined that
      the approved instructional courses are not adequate at this time to serve the additional individuals who would otherwise
      be required to complete such courses.

                           /s/Zoila Peguero
      Signature of Debtor: _____________________________________

            December 5, 2014
      Date: _____________
      _______________________________________________________________________________________________

     Instructions: Use this form only to certify whether you completed a course in personal financial management and only if
     your course provider has not already notified the court of your completion of the course. (Fed. R. Bankr. P. 1007(b)(7).)
     Do NOT use this form to file the certificate given to you by your prepetition credit counseling provider and do NOT
     include with the petition when filing your case.

     Filing Deadlines: In a chapter 7 case, file within 60 days of the first date set for the meeting of creditors under
     § 341 of the Bankruptcy Code. In a chapter 11 or 13 case, file no later than the last payment made by the debtor as
     required by the plan or the filing of a motion for a discharge under § 1141(d)(5)(B) or § 1328(b) of the Code. (See Fed.
     R. Bankr. P. 1007(c).)
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                                                              NEW JERSEY




×² ®»
          Zoila R. Peguero
                                                                                         Ý¿-» Ò±ò ÁÁÁÁÁÁÁÁÁÁÁ

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      December 5, 2014
      ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ                                    /s/Thomas M. Egan
                                                     ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ
                   Ü¿¬»                                                       Thomas M. Egan
                                                                           Í·¹²¿¬«®» ±º ß¬¬±®²»§

                                                                    Thomas M. Egan Esq, PC
                                                     ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ
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                                 UNITED STATES BANKRUPTCY COURT
                                                       NEW JERSEY


In re                                                                            Chapter 7

        Zoila R. Peguero                                                         Case No.

                                Debtors.



                              STATEMENT OF MONTHLY GROSS INCOME
The undersigned certifies the following is the debtor's monthly income.


                                 Income:                                      Debtor

                                 Six months ago                           $   0.00

                                 Five months ago                          $   0.00

                                 Four months ago                          $   0.00

                                 Three months ago                         $   0.00

                                 Two months ago                           $   0.00

                                 Last month                               $   0.00

                                 Total Gross income for six
                                 months preceding filing                  $   0.00

                                 Average Monthly Gross
                                 Income                                   $   0.00




Dated:     December 5, 2014
                                                                                         /s/Zoila Peguero
                                                                                         Zoila R. Peguero
                                                                                              Debtor
         Case 14-34604-VFP                Doc 1
                           Filed 12/05/14 Entered 12/05/14 09:13:35                                                     Desc Main
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UNITED STATES BANKRUPTCY COURT
NEW JERSEY
________________________________________________________________________________________________________
In Re:                                                                   Case No.
         Zoila R. Peguero


                   Debtor(s)
________________________________________________________________________________________________________

                                          DECLARATION RE: ELECTRONIC FILING OF
                                           PETITION, SCHEDULES & STATEMENTS

PART I - DECLARATION OF PETITIONER

                  Zoila R. Peguero
          I (WE) _________________________________,             the undersigned debtor(s), hereby declare under penalty of perjury that
the information provided in the electronically filed petition, statements, and schedules is true and correct and that I signed these
documents prior to electronic filing. I consent to my attorney sending my petition, statements and schedules to the United States
Bankruptcy Court. I understand that this DECLARATION RE: ELECTRONIC FILING is to be executed at the First Meeting of Creditors
and filed with the Trustee. I understand that failure to file the signed and dated original of this DECLARATION may cause my case to be
dismissed pursuant to 11 U.S.C. § 707(a)(3) without further notice. I (we) further declare under penalty of perjury that I (we) signed the
original Statement of Social Security Number (s), (Official Form B21), prior to the electronic filing of the petition and have verified the 9-
digit social security number displayed on the Notice of Meeting of Creditors to be accurate.

  X If petitioner is an individual whose debts are primarily consumer debts and who has chosen to file under a chapter: I am
aware that I may proceed under chapter 7, 11, 12 or 13 of Title 11, United States Code, understand the relief available under each
chapter, and choose to proceed under this chapter. I request relief in accordance with the chapter specified in this petition. I (WE)
and, the undersigned debtor(s), hereby declare under penalty of perjury that the information provided in the electronically filed
petition, statements, and schedules is true and correct.

   If petitioner is a corporation or partnership: I declare under a penalty of perjury that the information provided in the
electronically filed petition is true and correct, and that I have been authorized to file this petition on behalf of the debtor. The debtor
requests relief in accordance with the chapter specified in this petition.

    If petitioner files an application to pay filing fees in installments: I certify that I completed an application to pay the filing fee
in installments. I am aware that if the fee is not paid within 120 days of the filing date of filing the petition, the bankruptcy case may
be dismissed and, if dismissed, I may not receive a discharge of my debts.


       December 5, 2014
Dated: _____________________________

        /s/Zoila Peguero
Signed: _______________________________________                              ______________________________________________
                    (Applicant)                                                             (Joint Applicant)


PART II - DECLARATION OF ATTORNEY

          I declare under penalty of perjury that the debtor(s) signed the petition, schedules, statements, etc., including the
Statement of Social Security Number(s) (Official Form B21) before I electronically transmitted the petition, schedules, and statements to
the United States Bankruptcy Court, and have followed all other requirements in Administrative Orders and Administrative Procedures,
including submission of the electronic entry of the debtor(s) Social Security number into the Court’s electronic records. If an individual, I
further declare that I have informed the petitioner (if an individual) that [he or she] may qualify to proceed under chapter 7, 11, 12 or 13
of Title 11, United States Code, and have explained the relief available under each chapter. This declaration is based on the information
of which I have knowledge.

       December 5, 2014
Dated: ______________________                                                     /s/Thomas M. Egan
                                                           Attorney for Debtor(s) _________________________________________
                                                                                   Thomas M. Egan
                                                                                   _________________________________________
                                                           Address of Attorney     1000 Clifton Ave
                                                                                   _________________________________________
                                                                                   Clifton, New Jersey 07013
                                                                                   _________________________________________
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B200 (Form 200) (06/14)


                                UNITED STATES BANKRUPTCY COURT
                          REQUIRED LISTS, SCHEDULES, STATEMENTS, AND FEES
                                                                 Voluntary Chapter 7 Case

☐           Filing Fee of $245. If the fee is to be paid in installments or the debtor requests a waiver of the fee, the debtor must be an individual and must
file a signed application for court approval. Official Form 3A or 3B and Fed.R.Bankr.P. 1006(b), (c)

☐          Administrative fee of $75 and trustee surcharge of $15. If the debtor is an individual and the court grants the debtor's request, these fees are
payable in installments or may be waived.

☐          Voluntary Petition (Official Form 1); Names and addresses of all creditors of the debtor. Must be filed WITH the petition. Fed.R.Bankr.P.
1007(a)(1).

☐           Notice to Individual Debtor with Primarily Consumer Debts under 11 U.S.C. § 342(b) (Director's Form 201A/B), if applicable. Required if
the debtor is an individual with primarily consumer debts. The notice must be GIVEN to the debtor before the petition is filed. Certification that the
notice has been given must be FILED with the petition or within 15 days. 11 U.S.C. §§ 342(b), 521(a)(1)(B)(iii), 707(a)(3). Official Form 1 contains
spaces for the certification.

☐         Notice to debtor by “bankruptcy petition preparer” (Official Form 19). Required if a "bankruptcy petition preparer" prepares the petition.
Must be submitted WITH the petition. 11 U.S.C. § 110(b)(2).

☐        Statement of Social Security Number (Official Form 21). Required if the debtor is an individual. Must be submitted WITH the petition.
Fed.R.Bankr.P. 1007(f).

☐           Individual Debtor's Statement of Compliance with Credit Counseling Requirement (Exhibit D to Official Form 1); Certificate of Credit
Counseling and Debt Repayment Plan, if applicable; Section 109(h)(3) certification or § 109(h)(4) request, if applicable. Exhibit D is required if the
debtor is an individual. Exhibit D must be filed WITH the petition. If applicable, the Certificate of Credit Counseling and Debt Repayment Plan must be
filed with the petition or within 14 days. If applicable, the § 109(h)(3) certification or the § 109(h)(4) request must be filed WITH the petition.
Fed.R.Bankr.P. 1007(b)(3), (c).

☐         Statement disclosing compensation paid or to be paid to a “bankruptcy petition preparer” (Director's Form 280). Required if a
"bankruptcy petition preparer" prepares the petition. Must be submitted WITH the petition. 11 U.S.C. §110(h)(2).

☐          Statement of current monthly income, etc. (Official Form 22A). Required if the debtor is an individual. Must be filed with the petition or
within 14 days. Fed.R.Bankr.P. 1007(b), (c).

☐          Schedules of assets and liabilities (Official Form 6). Must be filed with the petition or within 14 days. Fed.R.Bankr.P. 1007(b),(c).

☐        Schedule of executory contracts and unexpired leases (Schedule G of Official Form 6). Must be filed with the petition or within 14 days.
Fed.R.Bankr.P. 1007(b), (c).

☐          Schedules of current income and expenditures. All debtors must file these schedules. If the debtor is an individual, Schedules I and J of
Official Form 6 must be used for this purpose. Must be filed with the petition or within 14 days. 11 U.S.C. § 521(1) and Fed.R.Bankr.P. 1007(b), (c).

☐          Statement of financial affairs (Official Form 7). Must be filed with the petition or within 14 days. Fed.R.Bankr.P. 1007(b), (c).

☐           Copies of all payment advices or other evidence of payment received by the debtor from any employer within 60 days before the filing of
the petition. Required if the debtor is an individual. Must be filed with the petition or within 14 days. Fed.R.Bankr.P. 1007(b), (c).

☐          Statement of intention regarding secured property and unexpired leases (Official Form 8). Required ONLY if the debtor is an individual
and the schedules of assets and liabilities contain debts secured by property of the estate or personal property subject to an unexpired lease. Must be filed
within 30 days or by the date set for the Section 341 meeting of creditors, whichever is earlier. 11 U.S.C. §§ 362(h) and 521(a)(2).

☐          Statement disclosing compensation paid or to be paid to the attorney for the debtor (Director's Form 203). Required if the debtor is
represented by an attorney. Must be filed within 14 days or any other date set by the court. 11 U.S.C. § 329 and Fed.R.Bankr.P. 2016(b).

☐           Certification of Completion of Instructional Course Concerning Financial Management (Official Form 23), if applicable. Required if the
debtor is an individual, unless the course provider has notified the court that the debtor has completed the course. Must be filed within 60 days of the first
date set for the meeting of creditors. 11 U.S.C. § 727(a)(11) and Fed.R.Bankr.P. 1007(b)(7), (c).
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                                   REQUIRED LISTS, SCHEDULES, STATEMENTS, AND FEES
                                                Voluntary Chapter 11 Case
☐         Filing fee of $1,167. If the fee is to be paid in installments, the debtor must be an individual and must file a signed application for court
approval. Official Form 3A and Fed.R.Bankr.P. 1006(b).

☐          Administrative fee of $550. If the debtor is an individual and the court grants the debtor's request, this fee is payable in installments.

☐          United States Trustee quarterly fee. The debtor, or trustee if one is appointed, is required also to pay a fee to the United States trustee at the
conclusion of each calendar quarter until the case is dismissed or converted to another chapter. The calculation of the amount to be paid is set out in 28
U.S.C. § 1930(a)(6). As authorized by 28 U.S.C. § 1930(a)(7), the quarterly fee is paid to the clerk of court in chapter 11 cases in Alabama and North
Carolina.

☐          Voluntary Petition (Official Form 1); Names and addresses of all creditors. Must be filed WITH the petition. Fed.R.Bankr.P. 1007(a)(1).

☐           Notice to Individual Debtor with Primarily Consumer Debts under 11 U.S.C. § 342(b) (Director's Form 201A/B), if applicable. Required if
the debtor is an individual with primarily consumer debts. The notice must be GIVEN to the debtor before the petition is filed. Certification that the
notice has been given must be FILED with the petition or within 15 days. 11 U.S.C. §§ 342(b), 521(a)(1)(B)(iii), 1112(e). Official Form 1 contains
spaces for the certification.

☐         Notice to debtor by “bankruptcy petition preparer” (Official Form 19). Required if a "bankruptcy petition preparer" prepares the petition.
Must be submitted WITH the petition. 11 U.S.C. § 110(b)(2).

☐        Statement of Social Security Number (Official Form 21). Required if the debtor is an individual. Must be submitted WITH the petition.
Fed.R.Bankr.P. 1007(f).

☐           Individual Debtor's Statement of Compliance with Credit Counseling Requirement (Exhibit D to Official Form 1); Certificate of Credit
Counseling and Debt Repayment Plan, if applicable; Section 109(h)(3) certification or § 109(h)(4) request, if applicable. Required if the debtor is an
individual. Exhibit D must be filed WITH the petition. If applicable, the Certificate of Credit Counseling and Debt Repayment Plan must be filed with
the petition or within 14 days. If applicable, the § 109(h)(3) certification or the § 109(h)(4) request must be filed WITH the petition. Fed.R.Bankr.P.
1007(b)(3), (c).

☐         Statement disclosing compensation paid or to be paid to a “bankruptcy petition preparer” (Director's Form 280). Required if a
"bankruptcy petition preparer" prepares the petition. Must be submitted WITH the petition. 11 U.S.C. §110(h)(2).

☐          Statement of Current Monthly Income (Official Form 22B). Required if the debtor is an individual. Must be filed with the petition or
within 14 days. Fed.R.Bankr.P. 1007(b), (c).

☐          List of Creditors holding the 20 largest unsecured claims (Official Form 4). Must be filed WITH the petition. Fed.R.Bankr.P. 1007(d).

☐          Names and addresses of equity security holders of the debtor. Must be filed with the petition or within 14 days, unless the court orders
otherwise. Fed.R.Bankr.P. 1007(a)(3).

☐          Schedules of Assets and Liabilities (Official Form 6). Must be filed with the petition or within 14 days. Fed.R.Bankr.P. 1007(b), (c).


☐        Schedule of executory contracts and unexpired leases (Schedule G of Official Form 6). Must be filed with the petition or within 14 days.
Fed.R.Bankr.P. 1007(b), (c).

☐          Schedules of Current Income and Expenditures. All debtors must file these schedules. If the debtor is an individual, Schedules I and J of
Official Form 6 must be used for this purpose. Must be filed with the petition or within 14 days. 11 U.S.C. § 521(1) and Fed.R.Bankr.P. 1007(b), (c).

☐          Statement of Financial Affairs (Official Form 7). Must be filed with the petition or within 14 days. Fed.R.Bankr.P. 1007(b), (c).

☐          Copies of all payment advices or other evidence of payment received by debtor from any employer within 60 days before the filing of the
petition. Required if the debtor is an individual. Must be filed WITH the petition or within 14 days. Fed.R.Bankr.P. 1007(b), (c).

☐           Statement disclosing compensation paid or to be paid to the attorney for the debtor (Director's Form 203), if applicable. Required if the
debtor is represented by an attorney. Must be filed within 14 days or any other date set by the court. 11 U.S.C. § 329 and Fed.R.Bankr.P. 2016(b).

☐           Certificate of Completion of Instructional Course Concerning Financial Management (Official Form 23), if applicable. Required if the
debtor is an individual and § 1141(d)(3) applies, unless the course provider has notified the court that the debtor has completed the course. Must be filed
no later than the date of the last payment under the plan or the filing of a motion for a discharge under § 1141(d)(5)(B). 11 U.S.C. § 1141(d)(3) and
Fed.R.Bankr.P. 1007(b)(7), (c).

☐          Statement concerning pending proceedings of the kind described in § 522(q)(1), if applicable. Required if the debtor is an individual and
has claimed exemptions under state or local law as described in § 522(b)(3) in excess of $155,675*. Must be filed no later than the date of the last
payment made under the plan or the date of the filing of a motion for a discharge under § 1141(d)(5)(B). 11 U.S.C. § 1141(d)(5)(C) and Fed.R.Bankr.P.
1007(b)(8), (c).




* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                             REQUIRED LISTS, SCHEDULES, STATEMENTS, AND FEES
                                                                 Chapter 12 Case


☐          Filing Fee of $200. If the fee is to be paid in installments, the debtor must be an individual and must file a signed application
for court approval. Official Form 3A and Fed.R.Bankr.P. 1006(b).

☐         Administrative fee of $75. If the debtor is an individual and the court grants the debtor's request, this fee is payable in
installments.

☐       Voluntary Petition (Official Form 1). Names and addresses of all creditors of the debtor. Must be filed WITH the petition.
Fed.R.Bankr.P. 1007(a)(1)

☐          Notice to Individual Debtor with Primarily Consumer Debts under 11 U.S.C. § 342(b) (Director's Form 201A/B), if
applicable. Required if the debtor is an individual with primarily consumer debts. The notice must be GIVEN to the debtor before the
petition is filed. Certification that the notice has been given must be FILED with the court in a timely manner. 11 U.S.C. §§ 342(b),
521(a)(1)(B)(iii). Official Form 1 contains spaces for the certification.

☐         Notice to debtor by “bankruptcy petition preparer,” (Official Form 19). Required if a "bankruptcy petition preparer"
prepares the petition. Must be submitted WITH the petition. 11 U.S.C. § 110(b)(2).

☐          Statement of Social Security Number (Official Form 21). Required if the debtor is an individual. Must be submitted WITH
the petition. Fed.R.Bankr.P. 1007(f).

☐         Individual Debtor's Statement of Compliance with Credit Counseling Requirement (Exhibit D to Official Form 1).
Certificate of Credit Counseling and Debt Repayment Plan, if applicable. Section 109(h)(3) certification or § 109(h)(4) request, if
applicable. Required if the debtor is an individual. Exhibit D must be filed WITH the petition. If applicable, the Certificate of Credit
Counseling and Debt Repayment Plan must be filed with the petition or within 14 days. If applicable, the § 109(h)(3) certification or the
§ 109(h)(4) request must be filed WITH the petition. Fed.R.Bankr.P. 1007(b)(3), (c).

☐        Statement disclosing compensation paid or to be paid to a "bankruptcy petition preparer" (Director's Form 280).
Required if a "bankruptcy petition preparer" prepares the petition. Must be submitted WITH the petition. 11 U.S.C. §110(h)(2).

☐         Schedules of Assets and Liabilities (Official Form 6). Must be filed with the petition or within 14 days. Fed.R.Bankr.P.
1007(b), (c).

☐         Schedule of Executory Contracts and Unexpired Leases (Schedule G of Official Form 6). Must be filed with the petition or
within 14 days. Fed.R.Bankr.P. 1007(b), (c).

☐        Schedules of Current Income and Expenditures. All debtors must file these schedules. If the debtor is an individual,
Schedule I and J of Official Form 6 must be used for this purpose. Must be filed with the petition or within 14 days. 11 U.S.C. § 521(1)
and Fed.R.Bankr.P. 1007(b), (c).

☐          Statement of Financial Affairs (Official Form 7). Must be filed with the petition or within 14 days. Fed.R.Bankr.P. 1007(b),
(c).

☐          Copies of all payment advices or other evidence of payment received by the debtor from any employer within 60 days before
the filing of the petition if the debtor is an individual. Must be filed with the petition or within 14 days. Fed.R.Bankr.P. 1007(b), (c).

☐         Statement disclosing compensation paid or to be paid to the attorney for the debtor (Director's Form 203), if applicable.
Must be filed within 14 days or any other date set by the court. 11 U.S.C. § 329 and Fed.R.Bankr.P. 2016(b).

☐          Chapter 12 Plan. Must be filed within 90 days. 11 U.S.C. § 1221.

☐         Statement concerning pending proceedings of the kind described in § 522(q)(1), if applicable. Required if the debtor is an
individual and has claimed exemptions under state or local law as described in §522(b)(3) in excess of $155,675*. Must be filed no later
than the date of the last payment made under the plan or the date of the filing of a motion for a discharge under § 1228(b). 11 U.S.C. §
1228(f) and Fed.R.Bankr.P. 1007(b)(8), (c).




* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                 REQUIRED LISTS, SCHEDULES, STATEMENTS, AND FEES
                                                   Chapter 13 Case

☐       Filing fee of $235. If the fee is to be paid in installments, the debtor must file a signed application for court approval. Official
Form 3A and Fed.R.Bankr.P. 1006(b).

☐          Administrative fee of $75. If the court grants the debtor's request, this fee is payable in installments.

☐       Voluntary Petition (Official Form 1); Names and addresses of all creditors of the debtor. Must be filed WITH the petition.
Fed.R.Bankr.P. 1007(a)(1).

☐          Notice to Individual Debtor with Primarily Consumer Debts under 11 U.S.C. § 342(b) (Director's Form 201A/B), if
applicable. Required if the debtor is an individual with primarily consumer debts. The notice must be GIVEN to the debtor before the
petition is filed. Certification that the notice has been given must be FILED with the petition or within 15 days. 11 U.S.C. §§ 342(b),
521(a)(1)(B)(iii), 1307(c)(9). Official Form 1 contains spaces for the certification.

☐         Notice to debtor by “bankruptcy petition preparer,” (Official Form 19). Required if a "bankruptcy petition preparer"
prepares the petition. Must be submitted WITH the petition. 11 U.S.C. § 110(b)(2).

☐          Statement of Social Security Number (Official Form 21). Must be submitted WITH the petition. Fed.R.Bankr.P. 1007(f).

☐         Individual Debtor's Statement of Compliance with Credit Counseling Requirement (Exhibit D to Official Form 1);
Certificate of Credit Counseling and Debt Repayment Plan, if applicable; Section 109(h)(3) certification or § 109(h)(4) request, if
applicable. Exhibit D must be filed WITH the petition. If applicable, the Certificate of Credit Counseling and Debt Repayment Plan
must be filed with the petition or within 14 days. If applicable, the § 109(h)(3) certification or the § 109(h)(4) request must be filed
WITH the petition. Fed.R.Bankr.P. 1007(b)(3), (c).

☐        Statement disclosing compensation paid or to be paid to a “bankruptcy petition preparer” (Director's Form 280).
Required if a “bankruptcy petition preparer” prepares the petition. Must be submitted WITH the petition. 11 U.S.C. §110(h)(2).

☐       Statement of Current Monthly Income, etc. (Official Form 22C). Must be filed with the petition or within 14 days.
Fed.R.Bankr.P. 1007.

☐         Schedules of Assets and Liabilities (Official Form 6). Must be filed with the petition or within 14 days. Fed.R.Bankr.P.
1007(b), (c).

☐         Schedule of Executory Contracts and Unexpired Leases (Schedule G of Official Form 6). Must be filed with the petition or
within 14 days. Fed.R.Bankr.P. 1007(b), (c).

☐         Schedules of Current Income and Expenditures (Schedules I and J of Official Form 6). Must be filed with the petition or
within 14 days. 11 U.S.C. § 521(1) and Fed.R.Bankr.P. 1007(b), (c).

☐          Statement of Financial Affairs (Official Form 7). Must be filed with the petition or within 14 days. Fed.R.Bankr.P. 1007(b),
(c).

☐         Copies of all payment advices or other evidence of payment received by the debtor from any employer within 60 days
before the filing of the petition. Must be filed with the petition or within 14 days. Fed.R.Bankr.P. 1007(b), (c).

☐          Chapter 13 Plan. Must be filed with the petition or within 14 days. Fed.R.Bankr.P. 3015.

☐         Statement disclosing compensation paid or to be paid to the attorney for the debtor (Director's Form 203), if applicable.
Must be filed within 14 days or any other date set by the court. 11 U.S.C. § 329 and Fed.R.Bankr.P. 2016(b).

☐          Certificate of Completion of Instructional Course Concerning Financial Management (Official Form 23). Must be filed
no later than the date of the last payment made under the plan or the date of the filing of a motion for a discharge under § 1328(b), unless
the course provider has notified the court that the debtor has completed the course. 11 U.S.C. § 1328(g)(1) and Fed.R.Bankr.P.
1007(b)(7), (c).

☐        Statement concerning pending proceedings of the kind described in § 522(q)(1), if applicable. Required if the debtor has
claimed exemptions under state or local law as described in §522(b)(3) in excess of $155,675*. Must be filed no later than the date of the
last payment made under the plan or the date of the filing of a motion for a discharge under § 1328(b). 11 U.S.C. § 1328(h) and
Fed.R.Bankr.P. 1007(b)(8), (c).



* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                             UNITED STATES BANKRUPTCY COURT

                      NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                               OF THE BANKRUPTCY CODE
        In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer
debts: (1) Describes briefly the services available from credit counseling services; (2) Describes briefly the
purposes, benefits and costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you
about bankruptcy crimes and notifies you that the Attorney General may examine all information you supply in
connection with a bankruptcy case.

        You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek
the advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court
employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In
order to ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that
you notify the court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two
individuals married to each other), and each spouse lists the same mailing address on the bankruptcy petition, you
and your spouse will generally receive a single copy of each notice mailed from the bankruptcy court in a jointly-
addressed envelope, unless you file a statement with the court requesting that each spouse receive a separate copy of
all notices.

1. Services Available from Credit Counseling Agencies

        With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file
for bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities
for credit counseling and provides assistance in performing a budget analysis. The briefing must be given
within 180 days before the bankruptcy filing. The briefing may be provided individually or in a group (including
briefings conducted by telephone or on the Internet) and must be provided by a nonprofit budget and credit
counseling agency approved by the United States trustee or bankruptcy administrator. The clerk of the bankruptcy
court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a joint
case must complete the briefing.

        In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

         Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total fee $335)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing
debts. Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine
whether the case should be permitted to proceed under chapter 7. If your income is greater than the median income
for your state of residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the
trustee, or creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the
Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have
the right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay
your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are
found to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny
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your discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
        Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore,
you may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic
support and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations;
certain debts which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused
by operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can
prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the
bankruptcy court may determine that the debt is not discharged.

        Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing
fee, $75 administrative fee: Total fee $310)
        Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed
certain dollar amounts set forth in the Bankruptcy Code.
        Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
owe them, using your future earnings. The period allowed by the court to repay your debts may be three years or
five years, depending upon your income and other factors. The court must approve your plan before it can take
effect.
        After completing the payments under your plan, your debts are generally discharged except for domestic
support obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury;
and certain long term secured obligations.

        Chapter 11: Reorganization ($1,167 filing fee, $550 administrative fee: Total fee $1,717)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed
with an attorney.

        Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total fee $275)
        Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those
whose income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

        A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both.
All information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney
General acting through the Office of the United States Trustee, the Office of the United States Attorney, and other
components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
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                                UNITED STATES BANKRUPTCY COURT
                                                NEW JERSEY
                                ________________________________________




In re
        Zoila R. Peguero
        ___________________________________                                         Case No. _______________
                   Debtor
                                                                                    Chapter ________________
                                                                                            7



                             CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                 UNDER § 342(b) OF THE BANKRUPTCY CODE


                                  Certification of [Non-Attorney] Bankruptcy Petition Preparer
         I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the
attached notice, as required by § 342(b) of the Bankruptcy Code.

_____________________________________________                                       _______________________________________
Printed name and title, if any, of Bankruptcy Petition Preparer                     Social Security number (If the bankruptcy petition
Address:                                                                            preparer is not an individual, state the Social Security
                                                                                    number of the officer, principal, responsible person, or
                                                                                    partner of the bankruptcy petition preparer.) (Required
X_______________________________________________                                    by 11 U.S.C. § 110.)

Signature of Bankruptcy Petition Preparer or officer,
principal, responsible person, or partner whose Social
Security number is provided above.



                                                         Certification of the Debtor
         I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.



Zoila R. Peguero
_________________________________________                                   /s/Zoila Peguero             December 5, 2014
                                                                          X______________________________________________
Printed Name(s) of Debtor(s)                                              Signature of Debtor                  Date

Case No. (if known) ________________________                                /s/                              December 5, 2014
                                                                          X______________________________________________
                                                                          Signature of Joint Debtor (if any)      Date


___________________________________________________________________________________________________

Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the
debtor’s attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy
petition preparers on page 3 of Form B1 also include this certification.
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                                      ACB Receivables Management
                                      19 Main Street
                                      Asbury Park, NJ 07712



                                      American Financial Solutions
                                      P.O. Box 602570
                                      Charlotte, NC 28260


                                      Citibank, N.A.
                                      c/o Northland Group Inc.
                                      P.O. Box 390905
                                      Minneapolis, MN 55439


                                      Discover Financial Services, LLC
                                      P.O. Box 15316
                                      Wilmington, DE 19850



                                      Enhanced Recovery Co., LLC
                                      8014 Bayberry Road
                                      Jacksonville, FL 32256


                                      First American Acceptance
                                      c/o Hayt, Hayt & Landau
                                      P.O. Box 500
                                      Eatontown, NJ 07724-0500


                                      Home Depot/Citibank
                                      P.O. Box 6497
                                      Sioux Falls, SD 57117



                                      HSBC Bank
                                      P.O. Box 5253
                                      Carol Stream, IL 60197



                                      HSBC Bank Nevada
                                      P.O. Box 5253
                                      Carol Stream, IL 60197
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                                      HSBC Bank Nevada, N.A.
                                      c/o Midland Credit Management, Inc.
                                      8875 Aero Drive
                                      Suite 200
                                      San Diego, CA 92123

                                      Macy's
                                      P.O. Box 8218
                                      Mason, OH 45040



                                      Midland Funding
                                      8875 Aero Drive, Suite 200
                                      San Diego, CA 92123



                                      Ocwen
                                      P.O. Box 6723
                                      Springfield, OH 45501



                                      Portfolio Recovery Associates
                                      120 Corporate Boulevard, Suite 100
                                      Norfolk, VA 23502



                                      Senex Services
                                      3500 DePauw Boulevard, Suite 3050
                                      Indianapolis, IN 46268



                                      Trinitas Emergency Phoenix Physicians
                                      6880 W. Snowville Road # 210
                                      Brecksville, OH 44141-3255



                                      University Radiology Group, PC
                                      P.O. Box 1075
                                      East Brunswick, NJ 08816-1075



                                      WFNNB/Dress Barn
                                      P.O. Box 182789
                                      Columbus, OH 43218
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                                                 UNITED STATES BANKRUPTCY COURT
                                                             New Jersey


                                     STATEMENT OF INFORMATION REQUIRED BY 11 U.S.C. § 341



INTRODUCTION

            Pursuant to the Bankruptcy Reform Act of 1994, the Office of the United States Bankruptcy
Administrator has prepared this information sheet to help you understand some of the possible consequences
of filing a bankruptcy petition under chapter 7 of the Bankruptcy Code. This information is intended to make
you aware of -
            (1) the potential consequences of seeking a discharge in bankruptcy,
                  including the effects on credit history;
            (2) the effect of receiving a discharge of debts in bankruptcy;
            (3) the effect of reaffirming a debt; and
            (4) your ability to file a petition under a different chapter of the Bankruptcy
                  Code.
            There are many other provisions of the Bankruptcy Code that may affect your situation. This
statement contains only general principles of law and is not a substitute for legal advice. If you have any
questions or need further information as to how the bankruptcy laws apply to your specific case, you should
consult with your lawyer.

WHAT IS A DISCHARGE?

           The filing of a chapter 7 petition is designed to result in a discharge of most of the debts you
listed in your bankruptcy schedules. A discharge is a court order that says that you do not have to repay your
debts, but there are a number of exceptions. Debts which usually may not be discharged in your chapter 7
case include, for example, most taxes, child support, alimony, and student loans; court-ordered fines and
restitution; debts obtained through fraud or deception; debts which were not listed in your bankruptcy
schedules; and personal injury debts caused by driving while intoxicated or taking drugs. Your discharge may
be denied entirely if you, for example, destroy or conceal property; destroy, conceal or falsify records; or make
a false oath. Creditors cannot ask you to repay debts which have been discharged. You can only receive a
chapter 7 discharge once every eight (8) years.

WHAT ARE THE POTENTIAL EFFECTS OF A DISCHARGE?

           The fact that you filed bankruptcy can appear on your credit report for as long as 10 years.
Thus, filing a bankruptcy petition may affect your ability to obtain credit in the future. Also, you may not be
excused from repaying debts that were not listed on your bankruptcy schedules or that you incurred after you
filed bankruptcy. There are exceptions to this general statement. See your lawyer if you have questions.

WHAT ARE THE EFFECTS OF REAFFIRMING A DEBT?

           After you file your bankruptcy petition, a creditor may ask you to reaffirm a certain debt or you
may seek to do so on your own. Reaffirming a debt means that you sign and file with the court a legally
enforceable document which states that you promise to repay all or a portion of the debt that may otherwise
have been discharged in your bankruptcy case. Reaffirmation agreements must generally be filed with the court
sixty (60) days after the first meeting of creditors.
           Reaffirmation agreements are strictly voluntary. They are not required by the Bankruptcy Code
or other state or federal law. You can voluntarily repay any debt instead of signing a reaffirmation agreement,
but there may be valid reasons for wanting to reaffirm a particular debt. This is particularly true when property
you wish to retain is collateral for a debt.
           Reaffirmation agreements must not impose an undue burden on you or your dependents and
must be in your best interest. If you decide to sign a reaffirmation agreement, you may cancel it at any time
before the court issues an order of discharge or within sixty (60) days after you filed the reaffirmation agreement
with the court, whichever is later.
           If you reaffirm a debt and fail to make the payments as required in the reaffirmation agreement,
the creditor can take action against you to recover any property that was given as security for the loan and you
may remain personally liable for any deficiency. In addition, creditors may seek other remedies, such as
garnishment of wages.

OTHER BANKRUPTCY OPTIONS
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           You have a choice in deciding what chapter of the Bankruptcy Code will best suit your needs.
Even if you have already filed for relief under chapter 7, you may be eligible to convert your case to a different
chapter.
           Chapter 7 is the liquidation chapter of the Bankruptcy Code. Under chapter 7, a trustee is
appointed to collect and sell, if economically feasible, all property you own that is not exempt from these
actions.
           Chapter 11 is the reorganization chapter most commonly used by businesses, but it is also
available to individuals. Creditors vote on whether to accept or reject a plan, which also must be approved by
the court. While the debtor normally remains in control of the assets, the court can order the appointment of
a trustee to take possession and control of the business.
           Chapter 12 offers bankruptcy relief to those who qualify as family farmers. Family farmers
must propose a plan to repay their creditors over a three-to-five year period and it must be approved by the
court. Plan payments are made through a chapter 12 trustee, who also monitors the debtors' farming
operations during the pendency of the plan.
           Finally, chapter 13 generally permits individuals to keep their property by repaying creditors
out of their future income. Each chapter 13 debtor writes a plan which must be approved by the bankruptcy
court. The debtors must pay the chapter 13 trustee the amount set forth in their plan. Debtors receive a
discharge after they complete their chapter 13 repayment plan. Chapter 13 is only available to individuals with
regular income whose debts do not exceed $1,000,000 ($250,000 in unsecured debts and $750,000 in secured
debts).

       AGAIN, PLEASE SPEAK TO YOUR LAWYER IF YOU NEED FURTHER INFORMATION OR
EXPLANATION, INCLUDING HOW THE BANKRUPTCY LAWS RELATE TO YOUR SPECIFIC CASE.

          By signing below, I/we acknowledge that I/we have received a copy of this document, and that
I/we have had an opportunity to discuss the information in this document with an attorney of my/our choice.



Date    December 5, 2014                                             /s/Zoila Peguero
                                                                     Zoila R. Peguero




                                                                    2
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                                                 UNITED STATES BANKRUPTCY COURT
                                                                    New Jersey


         Zoila R. Peguero
In re:                                                                                               Case No.
                                              Debtors
                                                                                                     Chapter    7


                                     VERIFICATION OF CREDITOR MATRIX
              The above named debtor(s), or debtor’s attorney if applicable, do hereby certify under penalty of perjury that the
         attached Master Mailing List of creditors is complete, correct and consistent with the debtor's schedules pursuant to
         Local Bankruptcy Rules and I/we assume all responsibility for errors and omissions.




         Dated:      December 5, 2014                                         Signed:   /s/Zoila Peguero




         Dated:                                                               Signed:
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                                WRITTEN NOTICE REQUIRED UNDER SECTION 527(a)(2)


              All information that you are required to provide with a petition and thereafter during a case under title 11
(“Bankruptcy”) of the United States Code is required to be complete, accurate, and truthful.

             All assets and all liabilities are required to be completely and accurately disclosed in the documents filed
to commence the case, and the replacement value of each asset as defined in title 11 United States Code section 506
must be stated in those documents where requested after reasonable inquiry to establish such value.
               Current monthly income, the amounts specified in section 707(b)(2), and, in a case under chapter 13 of
title 11, disposable income (determined in accordance with section 707(b)(2)), are required to be stated after
reasonable inquiry.
              Information that you provide during your case may be audited pursuant to title 11. Failure to provide
such information may result in dismissal of the case under title 11 or other sanction, including criminal sanctions.


  Date    December 5, 2014                                /s/Zoila Peguero
                                                          Zoila R. Peguero
                                                          Debtor




                                                          Joint Debtor


                                                          /s/Thomas M. Egan
                                                          Thomas M. Egan
                                                          Attorney for Debtor(s)
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                      IMPORTANT INFORMATION ABOUT BANKRUPTCY ASSISTANCE
                   SERVICES FROM AN ATTORNEY OR BANKRUPTCY PETITION PREPARER

           If you decide to seek bankruptcy relief, you can represent yourself, you can hire an attorney to represent
you, or you can get help in some localities from a bankruptcy petition preparer who is not an attorney. THE LAW
REQUIRES AN ATTORNEY OR BANKRUPTCY PETITION PREPARER TO GIVE YOU A WRITTEN CONTRACT
SPECIFYING WHAT THE ATTORNEY OR BANKRUPTCY PETITION PREPARER WILL DO FOR YOU AND HOW
MUCH IT WILL COST. Ask to see the contract before you hire anyone.

         The following information helps you understand what must be done in a routine bankruptcy case to help you
evaluate how much service you need. Although bankruptcy can be complex, many cases are routine.


            Before filing a bankruptcy case, either you or your attorney should analyze your eligibility for different forms
of debt relief available under the Bankruptcy Code and which form of relief is most likely to be beneficial for you. Be
sure you understand the relief you can obtain and its limitations. To file a bankruptcy case, documents called a Petition,
Schedules and Statement of Financial Affairs, as well as in some cases a Statement of Intention need to be prepared
correctly and filed with the bankruptcy court. You will have to pay a filing fee to the bankruptcy court. Once your case
starts, you will have to attend the required first meeting of creditors where you may be questioned by a court official
called a "trustee" and by creditors.


          If you choose to file a chapter 7 case, you may be asked by a creditor to reaffirm a debt. You may want help
deciding whether to do so. A creditor is not permitted to coerce you into reaffirming your debts.


            If you choose to file a chapter 13 case in which you repay your creditors what you can afford over 3 to 5
years, you may also want help with preparing your chapter 13 plan and with the confirmation hearing on your plan which
will be before a bankruptcy judge.

            If you select another type of relief under the Bankruptcy Code other than chapter 7 or chapter 13, you will
want to find out what should be done from someone familiar with that type of relief.


             Your bankruptcy case may also involve litigation. You are generally permitted to represent yourself in
litigation in bankruptcy court, but only attorneys, not bankruptcy petition preparers, can give you legal advice.



 Date    December 5, 2014                                 /s/Zoila Peguero
                                                          Zoila R. Peguero
                                                          Debtor




                                                          Joint Debtor


                                                          /s/Thomas M. Egan
                                                          Thomas M. Egan
                                                          Attorney for Debtor(s)




                            This disclosure is provided to assisted persons pursuant to 11 U.S.C. §527(b)
